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               EXHIBIT 1
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 1    JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
       jakro@kslaw.com
 2    AARON S. CRAIG (Bar No. 204741)
       acraig@kslaw.com
 3    KING & SPALDING LLP
      633 West Fifth Street, Suite 1700
 4    Los Angeles, CA 90071
      Telephone:    (213) 443-4355
 5    Facsimile:    (213) 443-4310

 6    Attorneys for Defendants NSO GROUP TECHNOLOGIES
      LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7

 8

 9                                UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                      OAKLAND DIVISION
12    WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware
13    corporation,                                  DEFENDANTS’ RESPONSES AND
                                                    OBJECTIONS TO PLAINTIFFS’ FIFTH
14                                                  REQUESTS FOR PRODUCTION
                   Plaintiffs,
15
            v.
                                                    Action Filed: 10/29/2019
16                                                  Trial Date:   12/2/2024
      NSO GROUP TECHNOLOGIES LIMITED
17    and Q CYBER TECHNOLOGIES LIMITED,

18                 Defendants.

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     DEFENDANTS’ RESPONSES AND                                         Case No. 4:19-cv-07123-PJH
     OBJECTIONS TO PLAINTIFFS’ FIFTH
     REQUESTS FOR PRODUCTION
     Case 4:19-cv-07123-PJH         Document 593-2         Filed 03/13/25      Page 3 of 96




 1    extent this request calls for documents disclosing the identities of Defendants’ third-party clients.

 2    See Order at 5, Dkt. No. 292. Defendants further object to the extent that any documents

 3    responsive to the request contain information that is prohibited from disclosure by Israeli law,

 4    regulation, or governmental order or directive, any other applicable law, or contract.

 5           Subject to and without waiving the foregoing objections or protections in the Stipulated

 6    Protective Order, Defendants respond that they do not possess documents responsive to this

 7    request because they do not maintain documents in the usual course of business containing

 8    revenue, cost, or pricing information for its products according to specific vector, exploit, or

 9    customer’s use of the same and have not located any such documents after a good faith and

10    reasonable search. However, Defendants will produce responsive and nonprivileged documents

11    in their possession, custody, and control sufficient to show Defendants’ best efforts to determine

12    their revenue, costs, and profits attributable to “Relevant Spyware” that was directed at, targeted,

13    or used WhatsApp or its servers to access Target Devices, from April 29, 2018 to May 10, 2020.

14    Order at 3, 4, Dkt. No. 292. Defendants intend to withhold any documents in their possession,

15    custody, or control that are responsive to this request if they contain information prohibited from

16    disclosure by Israeli law, regulation, governmental order or directive, other applicable law, or

17    contract. Defendants will conduct a reasonable and proportional search for documents and

18    anticipate substantial completion of their responsive production within approximately 180 days,

19    subject to receiving any necessary approvals and licenses.

20    REQUEST FOR PRODUCTION NO. 130:

21           Contracts between You and third parties concerning Relevant Spyware that was licensed

22    or sold to any NSO Customer in the Relevant Time Period, including any contracts for support or

23    other related services.

24    RESPONSE TO REQUEST FOR PRODUCTION NO. 130:

25           Defendants object to this request to the extent it calls for documents protected from

26 disclosure by the attorney-client privilege.        Defendants object to the request as irrelevant,

27 overbroad, and unduly burdensome insofar as it is not appropriately limited in scope or time (1)

28    to Defendants’ contracts concerning “Relevant Spyware” as the Court defined that term, namely
      DEFENDANTS’ RESPONSES AND               24                          Case No. 4:19-cv-07123-PJH
      OBJECTIONS TO PLAINTIFFS’ FIFTH
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     Case 4:19-cv-07123-PJH        Document 593-2         Filed 03/13/25        Page 4 of 96




 1    NSO spyware directed at, targeting, or using WhatsApp or its servers to access Target Devices;

 2    and (2) during the period of April 29, 2018 to May 10, 2020. Order at 3, 4, Dkt. No. 292.

 3    Defendants further object to the extent the request calls for the disclosure of Confidential

 4    Information or Items, including Defendants’ competitively sensitive business or sales

 5    information, that is governed by the Stipulated Protective Order. See Dkt. No. 132. Moreover,

 6    Defendants object to the term “NSO Customer(s)” as vague and ambiguous because that term is

 7    undefined and can be interpreted in more than one way. Defendants object to the extent this

 8    request calls for documents disclosing the identities of Defendants’ third-party clients. See Order

 9    at 5, Dkt. No. 292. Defendants further object to the extent that the requests seek contracts

10    containing information that is prohibited from disclosure by Israeli law, regulation, or

11    governmental order or directive, any other applicable law, or contract.

12           Subject to and without waiving the foregoing objections, Defendants respond that they

13    will stand on their objections and not produce documents responsive to this request.

14    REQUEST FOR PRODUCTION NO. 131:

15           Your financial statements or other documents sufficient to show all revenue, costs, and

16    profit realized from Your or any NSO Customer’s use of Relevant Spyware to exploit CVE-

17    2019- 3568.

18    RESPONSE TO REQUEST FOR PRODUCTION NO. 131:

19           Defendants object to the request as irrelevant, overbroad, and unduly burdensome insofar

20    as it is not appropriately limited in scope or time (1) to Defendants’ revenue, costs, and profit

21    from “Relevant Spyware” as the Court defined that term, namely NSO spyware directed at,

22    targeting, or using WhatsApp or its servers to access Target Devices; and (2) during the period of

23    April 29, 2018 to May 10, 2020. Order at 3, 4, Dkt. No. 292. Defendants object to the request

24    to the extent it implies that Defendants “use” Relevant Spyware—only Defendants’ customers

25    make use of the law enforcement and intelligence tools developed by Defendants. Defendants

26    also object to this request as irrelevant, unduly burdensome, and disproportionate to the needs of

27    the litigation insofar as it requires Defendants to expend significant time and expenses to query

28    documents and extract information concerning revenue, cost, or profit according to any specific
      DEFENDANTS’ RESPONSES AND              25                            Case No. 4:19-cv-07123-PJH
      OBJECTIONS TO PLAINTIFFS’ FIFTH
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            FILED UNDER SEAL
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               EXHIBIT 3
            FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 593-2   Filed 03/13/25   Page 7 of 96




               EXHIBIT 4
            FILED UNDER SEAL
Case 4:19-cv-07123-PJH   Document 593-2   Filed 03/13/25   Page 8 of 96




               EXHIBIT 5
  PUBLIC REDACTED VERSION
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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


WHATSAPP INC, and FACEBOOK, INC., )
                                  )
           Plaintiffs,            )
                                  )
     v.                           )
                                    Case No. 4:19-cv-07123-PJH
                                  )
NSO GROUP TECHNOLOGIES LIMITED, )
and Q CYBER TECHNOLOGIES LIMITED, )
                                  )
           Defendants.            )

                            REPORT OF JOSHUA J. MINKLER

               CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER

    I.        INTRODUCTION

         1.     My name is Joshua James Minkler. I have been engaged to offer

testimony based on my specialized experience conducting investigations and

prosecuting criminal cases based on surveillance technology. The scope of my

testimony       includes:    (1)   the   lawful   interception   and    surveillance   of

communications by federal law enforcement officers; (2) the unique investigatory

challenges presented to state and federal law enforcement by end-to-end

encryption and endpoint encryption; and (3) the benefits of tools such as Pegasus

in law enforcement and national security operations.

         2.     This report explains my understanding of the technology in this case

and details my testimony concerning using such lawful intercept capabilities.

The views expressed herein are my own and are based on my investigation into




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this matter and the education, experience, training, and skills I have

accumulated as a lawyer and a federal law enforcement official.

    II.        QUALIFICATIONS

          3.     My resume is attached as Appendix A. It includes my qualifications,

and sets forth significant investigations and prosecutions in which I was

involved. 1

          4.     I am currently a Partner at the law firm Barnes & Thornburg LLP.

In that role, I represent clients in matters relating to white-collar, compliance,

and criminal investigations.

          5.     Before joining Barnes & Thornburg, I served as the United States

Attorney for the Southern District of Indiana from 2014-2020, as the Acting US

Attorney, Attorney General Appointed US Attorney, Court Appointed US

Attorney, and Presidentially Appointed, Senate confirmed US Attorney. Before

serving as US Attorney, I served in various roles in the Office of the United States

Attorney for the Southern District of Indiana from 1994 to 2015. These roles

include: 1994 to 2010 – Assistant United States Attorney; 2010-2011 – Chief,

Drug and Violent Crimes Unit/Lead; and 2011-2014 – First Assistant United

States Attorney. Before that, I was an Assistant Prosecuting Attorney for the Kent

County (Michigan) Prosecuting Attorney from 1989 to 1994.

          6.     With over thirty years of law enforcement experience, I have led more

than fifty investigations, resulting in the prosecution of more than 500 criminal




1 I have authored no publications in the last ten years.




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defendants in federal court. I have significant experience obtaining authorization

for the lawful interception of communications at the state and federal levels,

supervising the use of those law enforcement techniques, and working with

federal law enforcement agencies, including the Federal Bureau of Investigation

(FBI), the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), and the

US Drug Enforcement Administration (DEA).

      7.    I have led and supervised complex investigations, including those

involving organized crime, child exploitation, terrorism, and human trafficking,

where sophisticated technical capabilities were deployed, such as remote

surveillance and the interception of communications. I have also been involved

in investigations where no such capabilities were available, but they would have

been helpful to the investigation had they been available. Accordingly, I am

familiar with existing lawful interception tools and the need for next-generation

solutions to address technological advancements available to suspected

criminals and terrorists.

      8.    I have significant familiarity with the interception and use of

communications in criminal prosecution.

      9.    For example, beginning in the Fall of 1998, I led a joint FBI and

Indianapolis Metropolitan Police Department investigation into a violent

organized group of drug distributors operating in the Brightwood neighborhood

on the northeast side of Indianapolis. Using court authorized interception of

phone calls and pager messages, law enforcement seized 78 weapons, 12

kilograms of cocaine, and $200,000 in cash during the investigation. Twenty-



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one defendants were charged. During the spring and summer of 2000, ten of the

defendants were tried in a seven-week trial. Over 100 witnesses and 1,200

exhibits were presented to the jury. Murders that were at a record high in the

Brightwood neighborhood in 1998, declined in 1999, 2000, and 2001. I received

an award from the FBI’s Special Agent in Charge for the investigation and

prosecution of this matter.

      10.   From December 2004 until March 2005, I led a team of DEA agents

and Indiana State Police investigators in an investigation that involved four

court-authorized wire intercepts with three extensions under the Department of

Justice’s Special Operations Division’s (“SOD”) “Operation Money Clip.”

Operation Money Clip was a SOD-supported, multi-jurisdictional, multi-agency

Organized Crime Drug Enforcement Task Force (OCDETF) investigation targeting

the Henry and Tony Franco-Arrellano poly-drug trafficking organization. SOD

initiated Operation Money Clip after intelligence identified a defined Mexican

criminal organization being supplied by Regional Priority Target (RPOT) 2 Ignacio

Coronel-Villareal. Operation Money Clip received intelligence from our law

enforcement counterparts in Mexico, including communications intelligence. In

addition, evidence obtained from legal electronic surveillance in the United

States was provided to and used by law enforcement counterparts in Mexico.

      11.   As a result of this investigation, 16 defendants were indicted,

arrested, convicted, and sentenced in the Southern District of Indiana. In


2 RPOT—Regional Priority Target is an OCDETF term for high-level targets as
determined by the Department of Justice.


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addition, 48 kilograms of cocaine, 875 pounds of marijuana, seven guns, and

assets valued at $1,450,000 were seized and forfeited. More importantly, three

Mexico-based sources of supply were indicted and convicted in this investigation,

including OCDETF Priority Target Juan Carlos Bermudez. On June 14, 2005,

Bermudez was arrested on the outstanding arrest warrant issued in the

Southern District of Indiana during a trip from the Mexico to Chicago, Illinois.

Bermudez was the first multi-jurisdictional RPOT target to be indicted and

convicted in the Southern District of Indiana. My team received a 2006 United

States Attorney Award. Additionally, the case was recognized as the Great Lakes

OCDETF case of the year at a Department of Justice Ceremony in Washington,

D.C., on July 31, 2007. I received an award from the Assistant Attorney General

for the Criminal Division. All defendants were arrested, pled guilty, and were

sentenced to prison. The denials of motions to suppress were appealed. The

judgments were affirmed on appeal. United States v. Evarardo Lira-Esquivel, 509

F.3d 820 (7th Cir. 2007).

      12.   In 2015, I also supervised the investigation and prosecution of Jared

S. Fogle and Russell C. Taylor for distributing and receiving Child Sexual Abuse

Material (CSAM) and conspiring to do so, as well as repeatedly traveling to engage

in commercial sex acts with underage minors. Between March 2001 and May

2015, Fogle received and viewed CSAM given to him by Taylor. Taylor secretly

produced CSAM of victims between 9 and 16 years old in his house. Taylor also

obtained and shared CSAM videos made outside of the United States showing

the sexual abuse of victims as young as six years old through Internet sources.



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Fogle also repeatedly utilized the Internet to solicit minors for commercial sexual

acts. He did this using an email account, social networking websites, online

messaging, and text messages. After victimizing a minor, Fogle sent messages to

the victim offering to pay her a fee, if she could find another underage girl to

have sex with him – indicating that “the younger” the next victim was “the better.”

      13.   I supervised the investigation and federal terrorism prosecution of

Akram Musleh, who was arrested in 2016 while attempting to board a bus from

Indianapolis to New York, where he was to fly to and transit through Morocco to

territory controlled by the Islamic State of Iraq and al-Sham (ISIS). The FBI

electronically surveilled Musleh as he consumed ISIS propaganda and made

contact with more than 12 ISIS fighters, supporters, and facilitators around the

world to join the terrorist organization. In his conversations with those contacts,

Musleh declared his allegiance to ISIS, expressed his eagerness to join ISIS, and

sought to determine the best way to travel from the United States to ISIS-

controlled territory in Syria or North Africa. Musleh also sought the advice of his

contacts on when to travel and the best routes to avoid detection by law

enforcement authorities. When one of his contacts suggested Musleh send

money to support the terror organization instead of traveling, Musleh replied that

he was afraid sending money would draw law enforcement attention and Musleh

“[didn’t] want to lose [his] freedom before doing something massive.” In searches

of Musleh’s electronic devices, the FBI recovered numerous files containing ISIS

propaganda, including horrific pictures and videos depicting violence inflicted on

countless people in the Middle East and North Africa. Also located on Musleh’s



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electronic devices was a “kill list” of US service members published by ISIS and

a pro-jihad video Musleh produced and created, which included a listing of

Indiana service members killed in action during Operation Iraqi Freedom.

       14.    In 2019, I supervised the investigation and prosecution of Moyad

Dannon and Mahde Dannon, who agreed to manufacture and sell at least 55

fully automatic “ghost guns” to a buyer located on the American southwest

border, believing those weapons would be shipped to the Middle East for use by

ISIS   and    its   members. Moyad    Dannon     had    numerous       and     extensive

conversations with an undercover agent who he believed was a member of ISIS

then fighting in Syria. During those conversations, Moyad expressed his desire

to travel from Indiana to ISIS-controlled areas of Syria, where he sought to utilize

his knowledge of firearms and other skills to provide direct military assistance

to ISIS in its fight against the United States and the Syrian government. In a

search   of   Dannon’s    devices   following   his   arrest,   FBI   agents     located

approximately 16 gigabytes of ISIS propaganda, including graphically violent

videos depicting ISIS fighters beheading civilians and hostages and ISIS snipers

killing US military personnel. Identical ISIS propaganda videos were discovered

on a laptop computer.

       15.    In each of these instances, interception of communications was

critical to the investigation and prosecution of these crimes. Today, many of

these communications likely would have been encrypted, impairing or impeding

the investigations and prosecutions.




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      16.    In addition, I also have significant experience supervising criminal

investigations involving end to end (E2E) communications. For example, I

supervised an investigation of an organized crime group called “the Mob,” which

committed at least 26 robberies of pharmacies, and one homicide, in the

Indianapolis area from September 12, 2014, through June 6, 2016.                      Our

investigation determined that the members of the Mob used Facebook Messenger

to communicate with each other to recruit new members into the gang, plan the

robberies, and sell the prescription drugs that they obtained from the robberies.

In that case, my team obtained Facebook Messenger communications through

federal search warrants. Given Meta’s recent migration to E2E encryption, law

enforcement would not have obtained these records, the prosecution might not

have occurred, and additional crimes might have been committed.

      17.    I   also   supervised   the     investigation    into      methamphetamine

trafficking activity of Clifford King. King’s organization distributed over 500

pounds of pure methamphetamine over a six-month period ranging from late

2019 through March 19, 2020. During the investigation, law enforcement

identified two of King’s methamphetamine suppliers—Eric Walker and Derrick

Granger.    Even   though    Granger       regularly   supplied      large   quantities   of

methamphetamine to King, law enforcement never intercepted them speaking

during approximately sixty days of wiretap interceptions over King’s cellphone.

During the search of Granger’s cellphone, law enforcement found screenshots

indicated that Granger communicated with King over FaceTime. Like Facebook

Messenger (now) and WhatsApp, FaceTime is a communication platform that



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features E2E encryption. As a result, it became clear to us that law enforcement

did not intercept Granger during the wiretap because he was speaking to King

exclusively over FaceTime.

      18.   I also supervised the investigation into a methamphetamine

trafficking ring operated by Christopher Tate. Tate’s organization distributed in

excess of 150 pounds of pure methamphetamine in the Indianapolis area. Trial

testimony established that Tate communicated with his drug customers and

suppliers   via   FaceTime,   another   communications    platform   using   E2E

encryption, to avoid detection by law enforcement. One of Tate’s drug customers,

Desiree Evans, testified at trial that Tate communicated with both her and Tate’s

drug source by FaceTime because “the police couldn’t get our conversations that

way.” Another of Tate’s drug customers, Danielle Dowling, testified that Tate

wanted her to contact him via FaceTime “[b]ecause you guys weren’t supposed

to hear his phone calls on FaceTime.” Despite our best efforts, the investigation

was unable to identify Tate’s Indianapolis-based sources of supply because Tate

communicated with them through platforms that employed E2E encryption,

including possibly WhatsApp or Facebook Messenger.

      19.   From February 2019 through November 2020, I supervised the

investigation of Jason Betts, the leader of an Indianapolis methamphetamine

trafficking group. Later, I became aware that the FBI conducted a court

authorized wiretap interception of Betts’ cellular telephone from February 19,

2021, through July 14, 2021. Law enforcement did not intercept any telephone

conversations identifying Betts’ methamphetamine source during this time



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period.   Betts’   organization   distributed   over   220   pounds     of   pure

methamphetamine and seven kilograms of fentanyl in the Indianapolis area.

After his arrest, Betts revealed that his methamphetamine source was Stephen

Grider, a resident of California who traveled back and forth from California to

Indiana. Betts’ cooperation eventually provided sufficient evidence to indict

Grider, who pled guilty to conspiracy to distribute methamphetamine and

fentanyl. At the trial, Betts testified that he communicated exclusively with

Grider through FaceTime, using E2E. When asked at trial why he only

communicated with Grider via FaceTime, Betts testified, “Because he said that’s

the only way that he would conversate with me because the FaceTime cannot be

intercepted about any law enforcement, sir.” Betts later testified that he also

communicated with Grider’s drug courier exclusively via FaceTime. When law

enforcement arrested Grider in California, law enforcement seized his cellular

telephone and executed a search warrant on the telephone. The cellular

telephone showed that Grider had substantial contacts with an individual in

California who had an extensive criminal record that involved drug distribution

and suggested involvement in the Jalisco New Generation Cartel. The contents

of the cellular telephone showed that Grider communicated with this individual

exclusively via WhatsApp and Signal via E2E encryption. Since law enforcement

could not identify Grider’s telephone to tap it or obtain the WhatsApp and Signal

messages from his cellphone, and because Grider did not cooperate, law

enforcement could not prove a case against Grider’s source in court or expand

the investigation to the source of supply to Grider California-based drug



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trafficking organization (DTO). Law enforcement’s inability to intercept

telephonic communications using platforms with E2E encryption significantly

hampered this investigation. If law enforcement could have intercepted Betts’

telephonic   FaceTime    communications     with     Grider   during   the   wiretap

investigation, it would have identified Grider earlier and identified his

communications device. Law enforcement would have used those interceptions

to obtain authority to intercept Grider’s cellular telephones. If law enforcement

had the ability to identify Grider’s telephonic communications over WhatsApp

and Signal, it would have been able to identify Grider’s cartel-based source of

methamphetamine and fentanyl.

      20.    From November 2005 until January 2006, I led DEA agents and

Indiana State Police investigators in an investigation that involved four court

authorized wire intercepts with two extensions under OCDETF “Operation

Motley Crew” focusing on RPOT target John Scruggs who was the kingpin of a

cocaine trafficking organization operating in Madison, Indiana. As a result of this

investigation, a total of 17 defendants were indicted. During the investigation,

kilograms of cocaine, pounds of marijuana, guns, and United States currency

were seized. More importantly, the elimination of a large DTO in a relatively small

Indiana tourist town (population 13,000) had a tremendous impact on reducing

the availability of illegal drugs, reducing the crime rate, and improving the

quality of life for all of the law-abiding residents of that town. My team received

a United States Attorney Award in 2008. I was recognized with an award from

the Special Agent in Charge of the DEA for my work on this case.



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      21.   During 2001, I led a joint FBI, DEA, United States Department of

Health and Human Services (HHS), Indiana Attorney General, and Jennings

County, Indiana, Sheriff’s Department investigation into the fraudulent

prescribing, distribution, and billing of OxyContin by an Indianapolis physician,

Dr. Randolph Lievertz, and a Jennings County, Indiana, drug dealer, Melinda

Hawkins. Lievertz prescribed more OxyContin to Medicaid recipients in the State

of Indiana than any other physician, and Hawkins was the Indiana Medicaid

recipient who received the largest amounts of OxyContin. From January 1, 2001

through September 26, 2001, Lievertz caused over $500,000 to be paid by

Medicaid for OxyContin. After filling the prescriptions, Hawkins illegally

distributed the OxyContin to several individuals, including high school students,

in Jennings County, Indiana. This illegal scheme not only bilked taxpayers, it

caused an epidemic of OxyContin abuse in rural Jennings County. The five-

month investigation employed a variety of law enforcement techniques, including

physical surveillance, controlled purchases of OxyContin, a complete financial

investigation, court authorized interception of oral communications occurring in

Lievertz’s examination room, and search warrants. This case won a 2003 United

States Attorney Award. HHS Inspector General Janet Rehnquist recognized me

with the HHS Public Integrity Award.

      22.   I have not testified as an expert at trial or by deposition in any case

during the previous four years.

      23.   I am being paid $995/hour for my work in this case. My

compensation is not contingent upon the outcome of the case.



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   III.     INFORMATION CONSIDERED

          24.   The content of this report is based on my experience as a prosecutor

and a United States Attorney involved in sophisticated investigations, task

forces, and steering committees. That experience includes familiarity with

intercept capabilities, legal standards, laws, processes, and accountability

mechanisms for misconduct or abuses.

          25.   In addition, a list of the materials and information that I considered

in forming the opinions expressed in this report can be found in Appendix B,

below.

          26.   Beyond the materials identified above, I do not anticipate needing

any exhibits to summarize, support, or aid my testimony. If this changes, I will

provide any such exhibits.

   IV.      BACKGROUND

          27.   Pegasus is a tool developed by the Israeli company NSO Group.

Pegasus is designed to be covertly and remotely installed on mobile phones

running iOS and Android.

          28.   All marketing and licensing activities relating to Pegasus must be

approved by the Israeli Ministry of Defense (MoD). NSO Group limits its customer

base to governments and government agencies. It also requires those customers

to use its products only for criminal and national security investigations and has

stated that it has an industry-leading approach to human rights. NSO’s

marketing and licensing activities are also subject to oversight by an internal

business ethics committee.



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        29.



        30.




        31.   While Pegasus’s capabilities may vary over time due to software

updates, it is generally capable of reading text messages, call recording, location

tracking, accessing the target device’s microphone and camera, and collecting

information from apps.

        32.   I have reviewed NSO’s Transparency and Responsibility Report for

2023. In this report, NSO explained that it is technologically impossible for

Pegasus to add, alter, delete, or otherwise manipulate data on targeted mobile

devices or perform any other activities beyond viewing and extracting certain

data.

        33.




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      34.   NSO also reports its compliance with the United Nations Guiding

Principles on Business and Human Rights (“UNGPs”), the Organisation for

Economic    Co-operation    and   Development    Guidelines      for   Multinational

Enterprises, and the United Nations Counter-Terrorism Legal Training

Curriculum. See NSO, Transparency and Responsibility Report 2023, (Dec. 31,

2023),       https://www.nsogroup.com/wp-content/uploads/2023/12/2023-

Transparency-and-Responsibility-Report.pdf. In doing so, NSO vets proposed

Pegasus licensees, limits the number of instances in which Pegasus can be used,

and contractually requires customers to respect human rights and use Pegasus

only for legitimate intelligence and law enforcement purposes. Id. I have verified

that NSO’s contracts contain clauses related to human rights and lawful

intelligence gathering.

    V.   DISCUSSION

         A. Lawful Interception and Surveillance by Federal Law
            Enforcement Agencies

      35.   The ability to lawfully intercept communications is not just a tool,

but a critical necessity in ensuring public safety and national security. Without

access to real-time communications, law enforcement’s ability to prevent


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terrorist attacks, conduct criminal investigations, and prosecute criminal

activity will be significantly hampered. The inability to use developing technology

to conduct the lawful interception of communications puts law enforcement at a

disadvantage as technology (and consequently the technology used to evade the

law) evolves. Indeed, criminal and terrorist actors are aware of the technologies

deployed by law enforcement and counter with increasingly sophisticated

technologies to defeat detection, intercept, or capture.

      36.   However, federal law provides avenues for law enforcement to

lawfully intercept communications using tools like Pegasus, including Title III

wiretaps and FISA warrants.

      37.   For example, Title III of the Electronic Communications Privacy Act,

18 U.S.C. 2510, et seq., has specific requirements that must be met before a

wiretap may be issued, including (1) any wiretap application under Title III must

be prepared by an affiant law enforcement agent who has developed the probable

cause necessary to support a wiretap and must be signed by a United States

Attorney or their designee, 18 U.S.C. § 2518(1)(a); (2) the application must

describe with particularity what information is to be intercepted and all other

means explored to gather this information, 18 U.S.C. § 2518(1)(b); (3) the

application must describe with particularity the probable cause for the specific,

predicated offense or offenses, 18 U.S.C. § 2518(1)(b); and (4) a federal judge

must approve the application, 18 U.S.C. § 2518(3). And no order for a wiretap

“may authorize or approve the interception of any wire, oral, or electronic




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communication for any period longer than is necessary to achieve the objective

of the authorization.” 18 U.S.C. § 2518(5).

      38.     The Foreign Intelligence Surveillance Act (“FISA”), 50 U.S.C. §§

1801-11, 1821-29, 1841-46, 1861-62, 1871, provides another means by which

intelligence agencies can lawfully intercept communications. FISA requires a

specialized Foreign Intelligence Surveillance Court to find that probable cause

exists that the subject of the FISA warrant is a foreign power or agent of a foreign

power and that a “significant purpose” of the warrant is to obtain foreign

intelligence. 50 U.S.C. §§ 1804. FISA also requires that all surveillance be

“minimized” to the extent possible. Id.

      39.     In my experience as a federal prosecutor and as the US Attorney,

there are significant safeguards that limit the potential for misuse of Title III

wiretaps and FISA warrants. For example, federal law provides criminal and civil

penalties for abuse of these law enforcement mechanisms. Similarly, the

Department of Justice’s internal policies provide for penalties for abuse of

warrants, including termination. These penalties are a strong deterrent against

any potential misuse of surveillance tools.

      40.     Based on my experience, federal law enforcement could lawfully

deploy Pegasus or similar software capabilities in the United States within these

parameters.

      B. Law Enforcement and Intelligence Concerns Regarding
         Device Encryption

      41.     Government access to encrypted communications is not a new issue

and has been debated since at least the 1970s. However, in the modern context,


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end-to-end encryption (“E2E” or “Device Encryption”) has put a unique

constraint on law enforcement. E2E protects “data in motion” and encrypts the

transmission of messages such that only the original sender and intended

recipient have the ability to decrypt the communication. E2E encryption

contrasts with traditional “end point” encryption, which protects stored

information on locked devices such that the contents of the device cannot be

read by anyone who does not possess the password. Increasingly, E2E has

become the default on many different applications and messaging services,

including WhatsApp, Telegram, and Signal. See About End-to-End Encryption,

WhatsApp,     https://faq.whatsapp.com/820124435853543             (last   visited

December 10, 2024); End-to-End Encryption FAQ, Telegram Support Force,

https://tsf.telegram.org/manuals/e2ee-simple (last visited December 10, 2024);

Is It Private? Can I Trust It, Signal Support, https://support.signal.org/hc/en-

us/articles/360007320391-Is-it-private-Can-I-trust-

it#:~:text=Signal%20conversations%20are%20always%20end,%2C%20every%2

0call%2C%20every%20time (last visited December 10, 2024).

      42.   The E2E encryption that WhatsApp provides its users prevents law

enforcement    from    intercepting    and   deciphering    communications       –

communications that law enforcement would have previously been able to obtain

and review by intercepting mail, telephone calls, electronic communications, etc.

WhatsApp itself informs users that it “does not” comply with law enforcement

requests for the content of its users’ messages. More importantly, WhatsApp

informs users that it “cannot” comply with such lawful requests for the content



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of their messages. 3 See WhatsApp FAQ, “About government requests for user

data,”            (last         accessed           Dec.             10,         2024)

https://faq.whatsapp.com/808280033839222.

         43.   As a practical matter, law enforcement also cannot access encrypted

messages on a locked device, even when that has been lawfully seized.

         44.   Accordingly, law enforcement and intelligence agencies are delayed

or unable to prevent terrorist attacks, investigate crimes, and prosecute criminal

activity without access to communications—even with a warrant or court order.

         45.   The impact of these limitations is present in several cases, including

cases of child exploitation. For example, in August 2019, an undercover police

officer in Ohio responded to an advertisement on a prostitution website seeking

to sell an underage woman who was a victim of sex trafficking. The undercover

officer arranged for a meet-up with the seller and—during the meet-up—arrested

him, seizing his cell phone in the process. The day after the arrest, the suspect

was overheard saying on a jail cell phone, “If [the police] get in my phone, I’m

doing time . . . . If they get in my phone, I’m doing time for other [stuff].” Using

this evidence, law enforcement obtained a warrant to search the suspect’s cell

phone, hoping to obtain the names of other sex trafficking victims. However, law

enforcement was unable to bypass the device’s encryption—meaning law

enforcement was never able to identify the names of other potential sex offenders,

or other potential victims of sex trafficking. See Lawful Access, US Department




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of Justice Office    of Legal Policy (last updated November 18, 2022),

https://www.justice.gov/olp/lawful-access.

      46.    The issue of warrant-proof encryption spans beyond the sphere of

sex trafficking and into the realm of national security. For example, the terrorists

in the 2015 Garland, Texas, attack—two Islamic extremists who ultimately

carried out an attack for which ISIS claimed responsibility—had been monitored

by the FBI for over three years. An undercover agent was on the scene actively

monitoring one of them at the time that the first shots were fired. But this was

not enough to prevent the attack. And, on the morning of the attack, the

terrorists exchanged 109 encrypted messages with an overseas terrorist

organization. The FBI could not access the messages and use their contents to

halt the attack. Indeed, even years after the terrorist attack, the FBI was not able

to access the content of the messages. See Attorney General William P. Barr

Delivers Keynote Address at the International Conference on Cyber Security, US

Department     of   Justice   Office    of   Public   Affairs   (July   23,   2019),

https://www.justice.gov/opa/speech/attorney-general-william-p-barr-delivers-

keynote-address-international-conference-cyber.

      47.    The use of encrypted messaging apps by foreign and domestic

terrorist groups has not ceased in the years since the Garland, Texas, terrorist

attack. In 2021, E2E was used by the Oath Keepers while planning the January

6th riot on the United States Capitol building. See, e.g., Indictment, United States

v. Rhodes et al. (D.D.C. January 8, 2021) (“Beginning in November 2020, Rhodes




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began disseminating messages on encrypted applications that encouraged his

co-conspirators to oppose by force the lawful transfer of presidential power.”).

        48.   Even more recently, Matthew Crooks planned his attempted

assassination of former President Trump using E2E. Although some of these

messages have been successfully decrypted, law enforcement still cannot access

the entirety of Crooks’ messages, and his motivations remain unknown. See

Testimony of the Honorable Christopher Wray, FBI Director, before the House

Judiciary Committee (July 24, 2024), https://judiciary.house.gov/committee-

activity/hearings/oversight-federal-bureau-investigation-7 (noting that the FBI

is still exploring “a number of digital devices” that belonged to Crooks, and that

“it turned out [Crooks] was using some encrypted messaging applications” which

the FBI “may never get access to because of the encryption issue that presents

an increasingly vexing barrier for law enforcement”).

        49.   This is only a select set of events, but the list of criminals and

terrorists known to be using E2E is extensive. In my experience, criminals and

terrorists specifically employ E2E because they are aware that law enforcement

has a limited ability to monitor their misconduct. This permits not only the open

planning of violent acts, but also allows for the transmission of other criminal

activity such as child exploitation, drug trafficking, and cybercrime. And, even if

the     criminals   employing    E2E        are   ultimately   identified,   encrypted

communications are sometimes lost to the government forever and cannot be

used as evidence in any resulting prosecutions.

        C. Lawful Surveillance Is Used by Foreign Governments



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      50.   Based on my experience working in the US Department of Justice

and independent research, I am aware that other nations have legal frameworks

that permit law enforcement to intercept communications lawfully. Although I

am not an expert in the laws of any particular foreign nation, I am aware that

many foreign jurisdictions impose requirements to receive authorization for

lawful interceptions that are similar to those in the United States.

      51.   Based on my research, at least the United Kingdom, Australia, New

Zealand, the United States, Canada, France, Mexico, Jamaica, and the

Netherlands generally allow for the lawful interception of communications with

prior judicial authorization.

      52.   In addition, a publicly available database compiled by Vodafone

Group with support from Hogan Lovells provides information for at least fifty-

seven counties. See Vodafone, Law Enforcement Disclosure Report, (June 2014),

https://www.vodafone.com/content/dam/vodcom/sustainability/pdfs/vodafo

ne_law_enforcement_disclosure_report.pdf. A sampling of those records, which

were last updated between 2017 and 2022, indicates that the vast majority of

those countries permitted law enforcement agencies or national security

agencies to conduct lawful intercepts as of the date that the online database or

relevant entries were last updated.

      53.   In my experience, the lawful interception of communications by a

foreign nation-state, such as a US ally, can and has facilitated the protection of

the United States. For example, in Operation Money Clip, receipt of intercepted




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messages from Mexican law enforcement was instrumental in securing arrests

and convictions for several of the investigation’s targets.

      54.   Based on public reporting, Pegasus has been used by several

Western-style democracies including Germany, Spain, Belgium, Poland, and

Hungary. See, How Democracies Spy on Their Citizens, The New Yorker (April 18,

2022), https://www.newyorker.com/magazine/2022/04/25/how-democracies-

spy-on-their-citizens. It has also been publicly reported that the United States

has purchased Pegasus, or financed the purchase of Pegasus, to assist American

allies in combating crime and terrorism. This includes Djibouti and Colombia.

See Michael Levenson, F.B.I. Secretly Bought Israeli Spyware and Explored

Hacking     U.S.    Phones,      New        York      Times     (Jan.      28,    2022),

https://www.nytimes.com/2022/01/28/world/middleeast/israel-pegasus-

spyware.html; Washington Financed Colombia's Purchase Of Pegasus Spy

Software,             Barron’s                (Nov.               8,              2024),

https://www.barrons.com/news/washington-financed-colombia-s-purchase-

of-pegasus-spy-software-76d6550f.

      D. Interception Technologies Provide the Potential for Significant
         Benefits to Law Enforcement and the Public

      55.   Based on my experience, lawful real-time access to devices and the

data, communications, and information therein is imperative to public safety

and national security. Criminal and terrorist actors continue to evolve in their

communications to avoid detection, and law enforcement and the intelligence

community must outpace this evolution technically.




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      56.        I am not alone in this belief. Numerous United States Attorneys

General—appointed by Democrat and Republican presidents—agree on this

issue. See, e.g., Statement from Attorney General William P. Barr on Introduction

of Lawful Access Bill in Senate, US Department of Justice Office of Public Affairs,

(June 23, 2020), https://www.justice.gov/opa/pr/statement-attorney-general-

william-p-barr-introduction-lawful-access-bill-

senate#:~:text=While%20strong%20encryption%20provides%20enormous,their

%20crimes%20and%20avoid%20detection (“While strong encryption provides

enormous benefits to society and is undoubtedly necessary for the security and

privacy of Americans, E2E encryption technology is being abused by child

predators, terrorists, drug traffickers, and even hackers to perpetrate their

crimes and avoid detection. Warrant-proof encryption allows these criminals to

operate with impunity. This is dangerous and unacceptable.”); Christina Carrega

et al., Merrick Garland Cites Domestic Terrorism and Civil Rights in Defending

Budget      to      House    Lawmakers,     CNN      Politics   (May      4,    2021),

https://www.cnn.com/2021/05/04/politics/merrick-garland-

hearing/index.html (quoting Attorney General Merrick Garland as stating that

“[t]he consequence of the internet and encryption means that [criminals and

terrorists] can send information and make plans much more swiftly and in

greater secrecy than could have been done before. . . . So, we have an emerging

and accelerating threat.”). President Obama has made similar statements. See

The White House Office of Press Secretary, Remarks by the President at South By

Southwest                Interactive         (Mar.              11,             2016),



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https://obamawhitehouse.archives.gov/the-press-

office/2016/03/14/remarks-president-south-southwest-interactive                   (“You

cannot take an absolutist view on this. So if your argument is strong encryption,

no matter what, and we can and should, in fact, create black boxes, then that I

think does not strike the kind of balance that we have lived with for 200, 300

years. And it’s fetishizing our phones above every other value. And that can’t

be the right answer. I suspect that the answer is going to come down to how do

we create a system where the encryption is as strong as possible, the key is as

secure as possible, it is accessible by the smallest number of people possible for

a subset of issues that we agree are important.”).

      57.   Existing lawful intercept capabilities are typically limited to methods

that rely upon E911 data, cell tower pings, and Internet Protocol (“IP”) data. As

a result, law enforcement is often only able to incept traditional (and often

antiquated) de-encrypted methods of communications, such as telephone calls

and text messages, application messages, and emails. Currently, federal law

enforcement    does   not    have   technology    capable   of     intercepting    E2E

communications.

      58.   Individuals     engaging   in   organized   crime,   child   exploitation,

terrorism, and human trafficking continue to develop technologies to avoid

detection by law enforcement, including detection of their illegal activities by

lawful electronic surveillance. In my experience, using E2E encryption is one of

the most common technologies utilized to defeat lawful electronic surveillance.




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      59.   In   my   opinion,    the    lack   of    the   ability    to    intercept   E2E

communications     prevents      or   hampers        considerably      the     investigation,

prevention, and prosecution of organized crime organizations, child exploitation,

terrorism, and human trafficking.

      60.   I have reviewed materials summarizing the capabilities of NSO’s

Pegasus technology, and it appears designed to capture more traditional forms

of communications or information (e.g., written communications, the content of

audio calls, the content of conversations within range of an activated

microphone, call logs, location data, etc.), while also providing law enforcement

access to new data streams (e.g., text and social media messages, browsing

history, installed applications, Wi-Fi networks, etc.). Most importantly, NSO’s

Pegasus technology, or similar technologies, would allow law enforcement legal

access to E2E communications used in furtherance of criminal activity.

      61.   Pegasus technology, or similar technologies, could provide law

enforcement agencies with real-time intelligence of crimes as they are planned.

This technology is the natural evolution of current lawful intercept tools and has

the potential to provide law enforcement with meaningful data to stop bad actors

before they cause greater harm to the public. Additionally, it would allow law

enforcement to successfully investigate and prosecute individuals involved in

organized drug trafficking organizations, child exploitation, terrorism, and

human trafficking. Put simply, it would be an affront to national security and

the public for law enforcement and the intelligence community to be unable to

counter the technologies deployed by criminals and terrorists.



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        62.   Based on public reporting, Pegasus itself has been beneficially

deployed in several high-profile investigations. Among other examples, this

includes the capture of an infamous Mexican cartel leader and the thwarting of

terrorist plots, organized crime, and a global child-abuse ring; as well as tracking

hostages held in Gaza. Ronan Bergman & Mark Mazzetti, The Battle for the

World’s Most Powerful Cyberweapon, The New York Times (last updated June

15,     2023),    https://www.nytimes.com/2022/01/28/magazine/nso-group-

israel-spyware.html; Gwen Ackerman & Marissa Newman, Israel Is Using

Pegasus Spyware Maker to Track Hostages in Gaza, Bloomberg (Oct. 26, 2023),

https://www.bloomberg.com/news/articles/2023-10-26/israel-taps-

blacklisted-pegasus-maker-nso-to-track-gaza-hostages-and-hamas.



Executed December 18, 2024.

                                                 ________________________________

                                                                   Joshua J. Minkler




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                                     Joshua James Minkler
                                Parter, Barnes & Thornburg LLP
                                        11 South Meridian
                                  Indianapolis, Indiana 46204


Education:

      Indiana University School of Law
      Bloomington, Indiana 47405
      08/1985 - 05/1988
      Juris Doctorate 05/1988

      Wabash College
      Crawfordsville, Indiana 47953
      08/1981 - 05/1985
      Bachelor of Arts 05/1985


      Legal Employment

      Employer’s Name:            Barnes & Thornburg LLP
                                  11 S. Meridian
                                  Indianapolis, Indiana 46204

      Dates Employed:             11/2020 – Present

      Job Title:                  Partner


      Employer’s Name:            Office of the United States Attorney for the
                                  Southern District of Indiana
                                  10 West Market, Suite 2100
                                  Indianapolis, Indiana 46204

      Dates Employed:             11/1994 – 11/2020

      Job Title:                  08/2014 – 11/2020
                                  United States Attorney

      Job Title                   04/2011 – 07/2014
                                  First Assistant United States Attorney

      Job Title:                  05/2010 - 03/2011
                                  Chief, Drug and Violent Crimes Unit/Lead
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                                   OCDETF Assistant United States Attorney

      Job Title:                   11/1994 - 05/2010
                                   Assistant United States Attorney

      Employer’s Name:             Office of the Kent County Prosecuting Attorney
                                   416 Hall of Justice
                                   333 Monroe Avenue, N.W.
                                   Grand Rapids, Michigan 49503

      Dates Employed:              12/1989 - 11/01/1994

      Job Title:                   Assistant Prosecuting Attorney

      Employer’s Name:             Legal Services of Eastern Michigan
                                   (Legal Services Corporation)
                                   140 East Main Street
                                   Midland, Michigan 48640

      Dates Employed:              07/1988 - 12/1989

      Job Title:                   Staff Attorney

      Employer’s Name:             Cotner, Andrews, Mann & Chapman
                                   (No longer in business)
                                   528 North Walnut Street
                                   Bloomington, Indiana 47402

      Dates Employed:              09/01/1986 - 04/30/1988

      Job Title:                   Law Clerk


Honors and Awards:

      December 2015: Indianapolis Metropolitan Police Department: Honorary Chief of
      Police Award for distinguished service and exceptional performance on behalf of the
      community of Indianapolis and the Indianapolis Metropolitan Police Department.
      Presented by the Chief of Police, Indianapolis Metropolitan Police Department.

      July 2012: Office of the Secretary of the Department of Defense: Patriotic Employer
      Award for contributing to national security and protecting liberty and freedom by
      supporting employee participation in America’s National Guard and Reserve Force.
      Presented by the National Chair, Employees Support of Guard and Reserve, Executive
      Director, Employer Support of Guard and Reserve.



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  January 2012: Drug Enforcement Administration: Certificate of Appreciation and
  Recognition for outstanding contribution in the field of drug law enforcement. Presented
  by the Special Agent in Charge, Drug Enforcement Administration, Chicago Field
  Division.

  December 2009: Federal Bureau of Investigation: Commendation for outstanding work
  on behalf of the people of the United States. Presented by the Special Agent in Charge,
  Federal Bureau of Investigation, Indianapolis Division.

  November 2008: Federal Bureau of Investigation: Commendation for outstanding work
  on behalf of the people of the United States. Presented by the Special Agent in Charge,
  Federal Bureau of Investigation, Indianapolis Division.

  August 2007: Investigation: Award for outstanding prosecution skills and assistance
  provided to the Federal Bureau of Investigation. Presented by the Director of the Federal
  Bureau of Investigation.

  July 2007: Department of Justice: Outstanding OCDETF Case, Great Lakes Region and
  recognition for outstanding contribution to cooperative law enforcement and the
  OCDETF program. Presented by the Assistant Attorney General, Criminal Division,
  United States Department of Justice.

  February 2006: United States Drug Enforcement Administration: Certificate of
  Appreciation and Recognition for outstanding contributions in the field of drug law
  enforcement. Presented by the Special Agent in Charge, Drug Enforcement
  Administration, Chicago Field Division.

  May 2004: United States Postal Inspection Service: Certificate of Appreciation in
  recognition of outstanding service and assistance to the United States Postal Inspection
  Service. Presented by the United States Postal Inspector in Charge, Detroit Division

  July 2003: Department of Health and Human Services, Office of Inspector General:
  Integrity Award in recognition of the investigation and conviction of multiple subjects
  involved in the fraudulent prescribing, billing, and distribution of OxyContin. Presented
  by the Inspector General, Department of Health and Human Services.

  August 2000: Federal Bureau of Investigation: Commendation and Recognition of
  contributions as lead prosecutor of the Brightwood investigation and prosecution.
  Presented by Special Agent Franklin S. Fabian, Federal Bureau of Investigation,
  Indianapolis Division.

  August 1999: United States Department of Justice: Special Achievement Award in
  recognition of meritorious acts performed in behalf of the Department. Presented by the
  Attorney General of the United States of America.




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       July 1999: United States Customs Service, Office of Investigations: Commendation and
       Recognition in appreciation of vigorous and successful prosecution of a major
       international narcotics smuggling organization. Presented by the Regional Agent in
       Charge, United States Customs Service.


       October 1998: City of Indianapolis, Indiana: Indianapolis Police Department Certificate
       of Commendation in recognition of distinguished service to the City of Indianapolis and
       to the Indianapolis Police Department. Presented by the Mayor, City of Indianapolis, the
       Director of Public Safety, and the Chief of Police.

       July 10, 1998: Department of Treasury, Bureau of Alcohol, Tobacco and Firearms:
       Certificate of Appreciation and Recognition for investigation and prosecution.
       Presented by the Special Agent in Charge, Bureau of Alcohol, Tobacco and Firearms.


Department of Justice Assignments and Committees

       Domestic Terrorism Executive Committee
       Co-Chair: 11/2017 – 11/2020

       Domestic Terrorism Working Group
       Chair: 11/2017 – 11/2020

       Attorney General Advisory Committee
       Member: 11/2017 – 10/2019

       Child Exploitation and Obscenity Working Group
       Member: 08/2014 – 01/2017
       Co-Chair: 04/2016 – 01/2017

       Terrorism and National Security Sub Committee
       Member: 05/2015 – 01/2017

       Violent and Organized Crime Sub Committee
       Member: 08/2014 – 01/2017


Public Offices

       United States Attorney; Southern District of Indiana
       Appointed by President Donald J. Trump and Unanimously Confirmed by the United
       States Senate
       10/02/2017 – 11/20/2020



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       United States Attorney (Interim) Southern District of Indiana
       Appointed by the District Judges of the United States District Court for the Southern
       District of Indiana by Hon. Richard L. Young, Chief Judge, United States District Court,
       Southern District of Indiana
       06/25/2015 – 10/02/2017


       United States Attorney (Interim); Southern District of Indiana
       Appointed by Attorney General Eric H. Holder, Jr.
       02/26/2015 – 06/25/2015

       Hussey-Mayfield Public Library (Zionsville, Indiana, Public Library)
       Board of Trustees
       Appointed by Zionsville, Indiana, Community School Board March 2009
       Reappointed January 2013
       Offices Held: Vice President 01/2013 – 07/2014; Secretary 03/2009 – 12/2012
       03/2009 – 08/01/2014


Description of Legal Career:

11/1994 – 11/2020
Office of the United States Attorney for the
Southern District of Indiana
10 West Market, Suite 2100
Indianapolis, Indiana 46204

       08/2014 – 11/2020
       United States Attorney
             From August 2014 to November 2020 as the United States Attorney, I served as
             the Chief Federal Law Enforcement Officer for the Southern District of Indiana and
             undertook the following responsibilities:             Setting, communicating and
             implementing federal law enforcement priorities within the district to reflect
             Department of Justice policy and priorities including the prosecution of federal
             crimes; maintaining the national security of the district; protecting federal funds
             and defending the interests of the United States; developing and maintaining a
             budget that maximizes the use of all available resources; managing the personnel
             who compose the Office of the United States Attorney; promoting effective external
             communications by disseminating information to the media and the public; and,
             supervising the First Assistant United States Attorney. I was not assigned any
             active criminal or civil cases, but I appeared in federal district and magistrate courts
             in the Southern District of Indiana on an occasional basis. I also appeared before
             the Seventh Circuit Court of Appeals




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       04/2011 – 07/2014
       First Assistant United States Attorney
              From April 2011 to July 2014 as the First Assistant United States Attorney, I was
              responsible for day-to-day operations of the Office of the United States Attorney
              including supervising the Criminal Chief, Civil Chief, Drug and Violent Crimes
              Unit Chief, National Security Unit Chief, two Senior Litigation Counsel, the
              Administrative Officer, the Public Information/Law Enforcement Coordinator,
              serving as Acting United States Attorney when the United States Attorney was
              recused, and all other duties as assigned by the United States Attorney. I was the
              only direct report to the United States Attorney. I continued to investigate and
              prosecute OCDETF cases. I appeared in federal district and magistrate courts in
              the Southern District of Indiana on a weekly basis. I also appeared before the
              Seventh Circuit Court of Appeals

       05/2010 - 03/2011
       Chief, Drug and Violent Crimes Unit/Lead
       OCDETF Assistant United States Attorney
              From May 2010 to April 2011 as the Chief, Drug and Violent Crimes Unit/Lead
              OCDETF Assistant United States Attorney, I was Responsible for supervising the
              attorneys and a paralegal assigned to the Drug and Violent Crimes Unit of the
              Criminal Division and the oversight of all OCDETF investigations and
              prosecutions in the Southern District of Indiana on behalf of the United States of
              America. I continued to investigate and prosecute OCDETF cases. I appeared in
              federal district and magistrate courts in the Southern District of Indiana on a
              weekly basis. I also appeared before the Seventh Circuit Court of Appeals


       11/1994 - 05/2010
       Assistant United States Attorney, Criminal Division
              From November 1994 to May 2010 as Assistant United States Attorney in the
              Criminal Division, I was responsible for conducting OCDETF investigations and
              prosecutions (including motion and appellate practice) of organizations engaged
              in violations of federal law including drug trafficking, money laundering, public
              corruption, commercial armed robberies, and firearms offenses on behalf of the
              United States of America. I appeared in federal district and magistrate courts in
              the Southern District of Indiana on a weekly basis. I also appeared before the
              Seventh Circuit Court of Appeals

12/1989 - 11/01/1994
Office of the Kent County Prosecuting Attorney
82 Ionia, NW #450
Grand Rapids, Michigan 49503

       Assistant Prosecuting Attorney
              From December 1989 to November 1994 as an Assistant Prosecuting Attorney, I
              was responsible for the filing, preparation, motion practice, and trial of assigned

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              criminal cases including murder, attempted murder, rape, armed robbery, and
              felony assaults on behalf of the People of the State of Michigan. I appeared in the
              state courts in Kent County, Michigan on a daily basis.




07/1988 - 12/1989
Legal Services of Eastern Michigan
(Legal Services Corporation)
140 East Main Street
Midland, Michigan 48640

       Staff Attorney
              From July 1988 to December 1989 with Legal Services, I was responsible for the
              legal representation of legally indigent civil clients in assigned housing and public
              benefits matters. Practiced with three other lawyers including a lead staff attorney
              who was responsible for the assignment of cases. The litigation was in state and
              federal courts in Michigan in the areas of tenant defense, land contract forfeiture,
              foreclosure defense, consumer protection, and constitutional challenges to federal
              regulations and policy. Managed 30 – 50 housing related cases in Midland,
              Isabella, Clare, Gratiot and Bay Counties in Michigan. I appeared in the state
              courts in those counties in Michigan on a weekly basis.


Trial and Appeals Experience:

       I have tried over 30 felony cases to verdict in the state courts of Kent County, Michigan.
       I was sole counsel on all of those cases. I have tried 21 cases to verdict in federal district
       court. I was sole counsel on 8 of those cases, lead counsel on 11 of those cases, and co-
       counsel on 2 of those cases. I have prepared and filed over 25 appellate briefs in the
       United States Court of Appeals for the Seventh Circuit. On over 25 occasions I have
       presented oral argument before a three judge panel in the United States Court of Appeals
       for the Seventh Circuit. Many of those cases resulted in published opinions.


Ten Significant Litigated Matters

   1. United States v. Alberto Santana-Cabrera, et al.
      1:09-cr-00136-WTL-MJD
      United States District Court, Southern District of Indiana
      Honorable William T. Lawrence, Judge
      Date of Representation: 2009 to 2012



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   From the beginning of the investigation in 2009 through conclusion of the final appeal in
   2012, I represented the United States of America. I was sole counsel on the investigation,
   lead counsel on all motion practice, the jury trial, and the sentencing hearings. I was sole
   counsel on the appeal.

   During 2009, I led agents of the DEA and officers of the IMPD in an investigation into
   the illegal distribution of stolen firearms and methamphetamine in the Indianapolis area.
   The investigation revealed that Alberto Santana-Cabrera, an undocumented citizen of
   Mexico with a prior felony drug conviction, was selling guns and methamphetamine on
   the west side of Indianapolis. His supplier for the methamphetamine was Abel Flores-
   Lopez. After an intensive investigation involving electronic surveillance, a confidential
   informant, an undercover agent, and the execution of numerous search warrants, both
   defendants were indicted in December of 2009. The matter was tried in May 2010. A
   majority of the civilian witnesses and both defendants were fluent in Spanish, but spoke
   little English. After a one-week jury trial involving Spanish interpreters, a jury convicted
   both defendants of all charges. Santana-Cabrera was sentenced to 75 years in prison and
   Flores-Lopez was sentenced to 10 years in prison. The judgments were affirmed on
   appeal. United States v. Abel Flores-Lopez, 670 F.3d 803 (7th Cir. 2012).

2. United States v. Robert Long, et. al.
   1:08-cr-00088-LJM-KPF
   United States District Court for the Southern District of Indiana
   Hon. Larry J. McKinney, Judge
   Date of Representation: 03/2008 - 2015
   Co-Counsel: AUSA Joe H. Vaughn

   From the beginning of the investigation in March 2008 through post-conviction litigation
   including direct appeals and collateral attacks that were concluded in 2015, I have
   represented the United States of America. From March 2008 until June 16, 2008, I led a
   joint FBI, Indiana State Police, and Indianapolis Metropolitan Police Department (IMPD)
   investigation into public corruption and drug trafficking activities occurring within the
   Narcotics and Dangerous Drugs Section of the IMPD. The investigation consisted of
   court-authorized wiretaps, high-risk undercover operations, sophisticated audio and video
   surveillance and novel witness interview techniques. The investigation revealed that
   IMPD Narcotics and Dangerous Drugs Detectives Robert Long and James Edwards and
   IMPD Patrolman James Davis corruptly abused their positions as IMPD police officers to
   divert drugs and drug proceeds to their own use, at times using fictitious search warrants
   to gain access to private property and at other times breaking into residences and stealing
   the drugs and money therein. This case was tried in the summer of 2009. After a two-
   week trial, the jury returned convictions. Davis was sentenced to 10 years, Edwards to 17
   years, and Long to 25 years in prison. The trial received a 2010 United States Attorney
   Award. I was recognized by the Special Agent in Charge of the FBI with an award for
   this case.

   The judgments were affirmed on appeal. United States v. Robert Long, 639 F.3d 293 (7th
   Cir. 2011). Edwards’ motion for collateral relief pursuant to 28 U.S.C. § 2255 was

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   denied and that judgment was affirmed on appeal. Jason P. Edwards v. United States,
   612 Fed.Appx. 390 (7th Cir. 2015).

3. United States v. Roy Lampkin et al., and United States v. Earl Allen, et al.
   1:07-cr-00105-SEB-KPF and 1:07-cr-00106-WTL-DKL
   United States District Court for the Southern District of Indiana
   Hon. Sarah Evans Barker, Judge
   Hon. John D. Tinder, Judge
   Hon. David F. Hamilton, Judge
   Hon. William T. Lawrence, Judge
   Date of Representation: 2006 to 12/2009

   From the beginning of the investigation in 2006 until the last defendant was sentenced on
   December 18, 2009, I represented the United States of America. I was sole counsel on
   both cases for all charging decisions, motion practice, and sentencings. All defendants
   pled guilty and were sentenced to prison. There was no appeal of the final judgements.

   In January 2006, United States Attorney Brooks assigned me to the Indianapolis Police
   Department (IPD) West District with instructions to work with the Deputy Chief and
   develop a high impact OCDETF case that would reduce violent crime in one of the most
   challenged neighborhoods of that district. I led a team composed of FBI Safe Streets
   agents, ATF Project Achillies agents, and IPD officers in conducting a total of 11 court
   authorized wiretaps over a period of eight months under OCDETF “Operation Westside
   Story.” This investigation focused on the Haughville Syndicate, a violent cocaine
   trafficking organization led by Earl Allen and Roy Lampkin operating exclusively in the
   Haughville neighborhood of Indianapolis. As a result of this investigation a total of 21
   defendants were indicted, convicted, and sentenced to federal prison.

   Most significantly, on August 14, 2007, more than 300 law enforcement officers
   executed 36 federal search warrants and two state search warrants at 38 different
   locations in Indianapolis. Approximately $67,000 in cash was seized along with 70
   illegally possessed firearms, including a machine gun, an Uzi, assault rifles, a 9-
   millimeter rifle, and several thousand rounds of ammunition. Within the first year of the
   takedown, violent crime in the IPD West District dropped 67%.

   About this case, Indianapolis Police Department Chief Spears said, “Last year we had a
   very difficult year with violence. This year, our murders are down almost 31 percent and
   those kinds of decreases don’t just happen. I believe they happen because of
   investigations like this.” The investigative team received a 2009 United States Attorney
   Award. I was recognized by the Special Agent in Charge of the FBI with an award for
   this case.

4. United States v. John Scruggs, et.al.
   IP 06-cr-0008-LJM-DKL
   United States District Court for the Southern District of Indiana
   Hon. Larry J. McKinney, Judge

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        Date of Representation: 11/2005 – 10/2007

        From the beginning of the investigation in November 2005 until the final disposition in
        district court during October 2007, I was the sole counsel representing the United States
        of America. I was responsible for the investigation, charging, motion practice, and final
        disposition of the case. All defendants pled guilty and were sentenced. There was no
        appeal.

        From November 2005 until January 2006, I led DEA agents and Indiana State Police
        investigators in an investigation that involved four court authorized wire intercepts with
        two extensions under OCDETF “Operation Motley Crew” focusing on RPOT target John
        Scruggs who was the Akingpin@ of a cocaine trafficking organization operating in
        Madison, Indiana. As a result of this investigation, a total of 17 defendants were
        indicted. Sixteen were arrested and convicted. During the investigation, kilograms of
        cocaine, pounds of marijuana, guns and United States currency were seized. More
        importantly, the elimination of a large drug trafficking organization in a relatively small
        Indiana tourist town (population 13,000) had a tremendous impact on reducing the
        availability of illegal drugs, reducing the crime rate and improving the quality of life for
        all of the law-abiding residents of that town. My team received a United States Attorney
        Award in 2008. I was recognized with an award from the Special Agent in Charge of the
        DEA for my work on this case.

    5. United States v. Juan Carlos Bermudez, et. al.
       IP 05-cr-00043-SEB-DML
       United States District Court for the Southern District of Indiana
       Hon. Sarah Evans Barker, Judge
       Co-Counsel: Nathan Judish, Department of Justice, Computer Crimes and Intellectual
       Property Section,
       Date of Representation: 2004 – 12/2007

        From the beginning of the investigation during 2004 until the conclusion of the appeal on
        December 5, 2007, I represented the United States of America. I was sole counsel on the
        investigation, motion practice, and all sentencing hearings at the district court. I was co-
        counsel with Mr. Judish on the appeal.

        From December 2004 until March 2005, I led a team of DEA agents and Indiana State
        Police investigators in an investigation that involved four court authorized wire intercepts
        with three extensions under the Department of Justice’s Special Operations Division’s
        (“SOD”) “Operation Money Clip.” Operation Money Clip was a SOD supported, multi-
        jurisdictional, multi-agency OCDETF investigation targeting the Henry and Tony
        Franco-Arrellano poly-drug trafficking organization. Operation Money Clip was initiated
        by SOD after intelligence identified a defined Mexican criminal organization being
        supplied by RPOT1 Ignacio Coronel-Villareal. As a result of this investigation, a total of
        16 defendants were indicted, arrested, convicted and sentenced in the Southern District of

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 RPOT – Regional Priority Target is an OCDETF term to identify high-level targets as determined by the
Department of Justice.

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   Indiana. In addition, 48 kilograms of cocaine, 875 pounds of marijuana, seven guns, and
   assets valued at $1,450,000.00 were seized and forfeited. More importantly, three
   Mexican based sources of supply were indicted and convicted in this investigation to
   include OCDETF/ Priority Target Juan Carlos Bermudez. On June 14, 2005, Bermudez
   was arrested on the outstanding arrest warrant issued in the Southern District of Indiana
   during a trip he made from the Republic of Mexico to Chicago, Illinois. Bermudez was
   the first multi-jurisdictional OCDETF RPOT target to be indicted and convicted in the
   Southern District of Indiana.
   My team received a 2006 United States Attorney Award. Additionally, the case was
   recognized as the Great Lakes OCDETF case of the year at a Department of Justice
   Ceremony in Washington, D.C. on July 31, 2007. I received an award from the Assistant
   Attorney General for the Criminal Division. All defendants arrested pled guilty and were
   sentenced to prison. The denials of motions to suppress were appealed. The judgments
   were affirmed on appeal. United States v. Evarardo Lira-Esquivel, 509 F.3d 820 (7th
   Cir. 2007).

6. United States v. Larry Williams, et al.
   IP03-CR-0191-M/B
   United States District Court for the Southern District of Indiana
   Hon. Sarah Evans Barker, Judge
   Hon. Larry J. McKinney, Judge
   Date of Representation: 2003 to 2007
   Co-Counsel: John E. Dowd

   From the start of the investigation in 2003 through the appeal, remand, and final
   disposition of the matter in 2007, I represented the United States of America. My co-
   counsel at trial was AUSA John Dowd.

   During the summer of 2003, reacting to heroin overdoses in Bloomington, Indiana, I led
   an aggressive DEA and Bloomington Police Department investigation that revealed an
   Indiana University graduate student, Tom Verhovshek, as the source of supply for 1-2
   gram quantities of high purity heroin in the Bloomington area. Using Verhovshek’s
   cooperation, the investigation moved up the chain to the sources of supply for the heroin
   involved in the Bloomington overdoses. Using court authorized wire surveillance, it was
   determined that Larry D. Williams, Sr., was the leader of a heroin organization in
   Indianapolis, the members of which distributed in excess of three kilograms of heroin that
   was approximately 80% pure (heroin is typically diluted and ingested at 2-3% purity)
   over a period of six months. The investigation continued and Chicago residents Wendell
   Denson and Herman Cunningham were identified as the sources of supply for the heroin
   that was shipped to Indianapolis and redistributed in Bloomington.

   The seven-month investigation culminated on December 16, 2003, when 150 state, local
   and federal law enforcement officers executed 17 federal arrest warrants and 15 federal
   search warrants in the Southern District of Indiana, the Northern District of Illinois, and
   the Southern District of Ohio. Large quantities of heroin, currency and firearms were
   seized.

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   All 17 defendants were indicted, convicted, and sentenced to prison. The three lead
   defendants were convicted after a three-week jury trial. The trial team was recognized
   with a United States Attorney Award in 2005. On appeal, the judgments against three of
   the defendants were reversed and the cases were remanded for a new trial. United States
   v. Herman Cunningham, et al., 462 F.3d 708 (7th Cir. 2006). After the remand, all three
   defendants pled guilty before the Honorable Larry J. McKinney and were sentenced to
   prison. There was no appeal from those judgments.

7. United States v. Dr. Randolph Lievertz, et.al.
   IP02-CR-0005-B/F
   United States District Court for the Southern District of Indiana
   Hon. Sarah Evans Barker, Judge
   Date of Representation: 2001 – 2/2003
   Co-Counsel: Winfield Ong

   From the start of the investigation in 2001 through the final disposition of the matter at
   sentencing on February 28, 2003, I represented the United States of America.

   During 2001, I led a joint FBI, DEA, United States Department of Health and Human
   Services (HHS), Indiana Attorney General, and Jennings County, Indiana, Sheriff’s
   Department investigation into the fraudulent prescribing, distribution, and billing of
   OxyContin by an Indianapolis physician, Dr. Randolph Lievertz, and a Jennings County,
   Indiana, drug dealer, Melinda Hawkins. Lievertz prescribed more OxyContin to
   Medicaid recipients in the State of Indiana than any other physician, and Hawkins was
   the Indiana Medicaid recipient who received the largest amounts of OxyContin. From
   January 1, 2001 through September 26, 2001, Lievertz caused over $500,000 to be paid
   by Medicaid for OxyContin. From January 1, 2001 through December 17, 2001,
   Hawkins caused $130,204.91 to be paid by Medicaid for OxyContin prescriptions written
   by Lievertz to Hawkins outside the scope of professional practice and not for a legitimate
   medical purpose. After filling the prescriptions, Hawkins illegally distributed the
   OxyContin to several individuals including high school students in Jennings County,
   Indiana. This illegal scheme not only bilked taxpayers, it also caused an epidemic of
   OxyContin abuse in rural Jennings County.

   The five-month investigation employed a variety of law enforcement techniques,
   including physical surveillance, controlled purchases of OxyContin, a complete financial
   investigation, court authorized interception of oral communications occurring in
   Lievertz’s examination room (first time this technique had been utilized in the district),
   and search warrants. United States Attorney Susan Brooks said, “this joint effort by
   federal and local law enforcement agencies to identify and address the problem of
   OxyContin trafficking in a particular area demonstrates the best of proactive law
   enforcement.”.

   In early 2002, both Lievertz and Hawkins were indicted, convicted and sentenced to
   prison. This case won a 2003 United States Attorney Award. Janet Rehnquist, Inspector

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   General, HHS, recognized me with the HHS Public Integrity Award. After the case was
   resolved, United States Attorney Brooks and I did significant outreach on the dangers of
   prescription pill abuse, including a town hall style meeting at Jennings County High
   School. I was the lead counsel on the investigation and co-counsel on the indictment,
   motion practice, and sentencing hearing. There was no trial and no appeal.



8. United States v. Lee Williams, et. al.
   IP99-CR-0059-M/L
   United States District Court for the Southern District of Indiana
   Hon. Larry J. McKinney, Judge
   Date of Representation: 1998 – 11/2002
   Co-Counsel: John Dowd and Brian Jennings

   From the start of the investigation in 1998 through the conclusion of the appeal on
   November 15, 2002, I represented the United States of America. During the trial, I had
   two co-counsel, AUSA John Dowd and cross-designated Marion County Deputy
   Prosecutor and Special AUSA Brian Jennings.

   Beginning in the Fall of 1998, I led a joint FBI and Indianapolis Police Department
   investigation into a violent organized group of drug distributors operating in the
   Brightwood neighborhood on the northeast side of Indianapolis. Using court authorized
   interception of phone calls and pager messages, law enforcement seized 78 weapons, 12
   kilograms of cocaine, and $200,000 in cash during the course of the investigation.
   Twenty-one defendants were charged. During the spring and summer of 2000, 10 of the
   defendants were tried in a seven-week trial. Over 100 witnesses and 1,200 exhibits were
   presented to the jury. One defendant pled guilty mid-trial, and the jury returned guilty
   verdicts against eight of the remaining nine defendants. All of the defendants charged
   were convicted by jury or by plea (the defendant who was acquitted at trial subsequently
   pleaded guilty to a firearm charge) with an average sentence of 170 months’
   incarceration. Eight defendants received sentences longer than 20 years in prison.
   Murders that were at a record high in the Brightwood neighborhood in 1998, declined in
   1999, 2000, and 2001. I received an award from the Special Agent in Charge of the FBI
   for the investigation and prosecution of this matter. I was sole counsel on the
   investigation, lead counsel at trial and at all sentencing hearings, and the sole counsel on
   appeal. While the appeal involved two separate appellate briefs, the cases were
   combined for the oral argument and opinion. The judgments of all 13 defendants who
   appealed were affirmed. United States v. Marvin Dumes, et al., 313 F.3d 372 (7th Cir.
   2002).

9. United States v. Morris Carr, et. al.
   IP97-CR-0063-M/F
   United States District Court for the Southern District of Indiana
   Hon. Larry J. McKinney, Judge
   Date of Representation: 1997 to November 1999

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   Co-Counsel: Melanie C. Conour

   From the commencement of the investigation in 1997 through the final appellate
   judgment rendered on November 18, 1999, I represented the United States of America
   assisting lead counsel AUSA Melanie C. Conour.

   During 1997 and 1998, I co-led a joint DEA, ATF and Indianapolis Police Department
   investigation with lead counsel AUSA Melanie Conour into members of the Four Corner
   Vice Lords Gang from Chicago that had infested the City of Indianapolis with drugs and
   guns. Twenty-four defendants were charged as a result of the investigation (14
   defendants were charged in federal court and 10 defendants were charged in state court in
   Marion County, Indiana). After a majority of the defendants entered pleas of guilty, three
   of the leaders of the organization were tried in a five-week jury trial. The jury returned
   verdicts of guilty after hearing evidence that as much as 400 kilograms of cocaine were
   distributed by the organization that enforced its drug trafficking with violence. The
   leaders of the organization were sentenced to life in prison. AUSA Conour and I received
   awards from the Attorney General, the Mayor of Indianapolis, and the Special Agent in
   Charge of the ATF for the investigation and prosecution of this matter. Along with
   AUSA Conour, I was responsible for the motion practice, trial, sentencing hearings, and
   defending the judgment on appeal. I was the sole AUSA responsible for the oral
   argument before the Seventh Circuit Court of Appeals. All judgments were affirmed on
   appeal. United States of America v. Thornton, et al., 197 F.3d 241 (7th Cir. 1999).

10. People of the State of Michigan v. Tuan Truong and Tai Van Nguyen
    92-59379-FC
    17th Circuit Court for the State of Michigan
    Hon. Donald Johnston, Judge
    Date of Representation: 08/1992 – 1993

   As Assistant Prosecuting Attorney, I was sole counsel for the People of the State of
   Michigan in all preliminary hearings, motion practice, jury trial and disposition hearings
   in the above case. Two Vietnamese defendants shot and killed a member of a rival
   Vietnamese gang member in a Vietnamese restaurant in August 1992. A majority of the
   civilian witnesses and both defendants were fluent in Vietnamese, but spoke little
   English. There was extensive motion practice to determine the age of the defendants and
   the admissibility of statements made by one of the defendants. After a 12-day trial
   involving Vietnamese interpreters, a jury convicted both defendants of first-degree
   murder. Both defendants were sentenced to life without parole and the judgments were
   affirmed on appeal. I did not represent the People of the State of Michigan on the appeal.




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                                 APPENDIX B
                     LIST OF INFORMATION CONSIDERED

LAWS
•    18 U.S.C. 2510, et seq.
•    50 U.S.C. §1801, et seq.

POLICIES AND GUIDANCE
•    Justice Manual, Title 9-7.000, U.S. Department of Justice,
     https://www.justice.gov/jm/justice-manual
•    Lawful Access, US Department of Justice Office of Legal Policy (last
     updated November 18, 2022),
     https://www.justice.gov/olp/lawful-access
•    Executive Order, President Joe Biden, March 27, 2023.
     https://www.whitehouse.gov/briefing-room/statements-
     releases/2023/03/27/fact-sheet- president-biden-signs-executive-order-to-
     prohibit-u-s-government-use-of-commercial- spyware-that-poses-risks-to-
     national-security/

SCHOLARLY PUBLICATIONS AND TREATISES
•   Comparative Study on Wiretapping and Electronic Surveillance Laws in
    Major Foreign Countries, Members of Staff, Law Library, Library of
    Congress (1975)
•   1 World Online Business Law, Chapter 7: Technology Surveillance
•   Country Legal Framework Resources, Provision of Real-time Lawful
    Interception Assistance, https://clfr.globalnetworkinitiative.org

DOCUMENTS PRODUCED IN THIS LITIGATION
•   Complaint and Exhibits
•   FPM-00021846
•   NSO_WHATSAPP_00000078
•   NSO_WHATSAPP_00000262
•   NSO_WHATSAPP_00045591
•   Exhibit 2005
•   Exhibit 2028
•   Exhibit 2088

OTHER MATERIALS
•   https://faq.whatsapp.com/808280033839222
•   https://faq.whatsapp.com/820124435853543
•   https://judiciary.house.gov/committee-activity/hearings/oversight-
    federal-bureau-investigation-7
•   https://obamawhitehouse.archives.gov/the-press-
    office/2016/03/14/remarks-president-south-southwest-interactive
•   https://support.signal.org/hc/en-us/articles/360007320391-Is-it-
    private-Can-I-trust-
    it#:~:text=Signal%20conversations%20are%20always%20end,%2C%20ever
    y%20call%2C%20every%20time
•   https://therecord.media/encrypted-apps-a-challenge-trump-assassination-
    Case 4:19-cv-07123-PJH      Document 593-2      Filed 03/13/25   Page 51 of 96



     attempt-wray- fbin
•    https://tsf.telegram.org/manuals/e2ee-simple
•    https://www.barrons.com/news/washington-financed-colombia-s-
     purchase-of-pegasus-spy-software-76d6550f
•    https://www.bloomberg.com/news/articles/2023-10-26/israel-taps-
     blacklisted-pegasus- maker-nso-to-track-gaza-hostages-and-hamas
•    https://www.cnn.com/2021/05/04/politics/merrick-garland-
     hearing/index.html
•    https://www.justice.gov/nsd/media/1350236/dl?inline
•    https://www.justice.gov/opa/pr/statement-attorney-general-william-p-
     barr-introduction-lawful-access-bill-
     senate#:~:text=While%20strong%20encryption%20provides%20enormous,t
     heir%20crimes%20and%20avoid%20detection
•    https://www.justice.gov/opa/speech/attorney-general-william-p-barr-
     delivers-keynote-address-international-conference-cyber
•    https://www.newyorker.com/magazine/2022/04/25/how-democracies-
     spy-on-their-citizens
•    https://www.nsogroup.com/wp-content/uploads/2023/12/2023-
     Transparency-and-Responsibility-Report.pdf
•    https://www.nytimes.com/2022/01/28/magazine/nso-group-israel-spyware.html
•    https://www.nytimes.com/2022/01/28/world/middleeast/israel-
     pegasus-spyware.html
•    https://www.nytimes.com/2022/11/12/us/politics/fbi-pegasus-spyware-
     phones-nso.html
•    https://www.vodafone.com/content/dam/vodcom/sustainability/pdfs/vodafone_law_enforce
     ment_disclosure_report.pdf
•    Indictment, United States v. Rhodes et al. (D.D.C. January 8, 2021)
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               EXHIBIT 6
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1                 UNITED STATES DISTRICT COURT
2          FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                        OAKLAND DIVISION
4    _________________________________
5                                     )
     WHATSAPP LLC, a Delaware         )
6    corporation, and META PLATFORMS, )
     INC., a Delaware corporation,    ) CASE NO.:
7                                     ) 4:19-CV-07123-
                       Plaintiffs,    ) PJH
8                                     )
               v.                     )
9                                     )
     NSO GROUP TECHNOLOGIES LIMITED   )
10   and Q CYBER TECHNOLOGIES         )
     LIMITED,                         )
11                                    )
                       Defendants.    )
12   _________________________________)
13
14        ** THIS TRANSCRIPT IS MARKED CONFIDENTIAL
15               PURSUANT TO PROTECTIVE ORDER **
16
17                DEPOSITION OF JOSHUA MINKLER
18                            VOLUME I
19                    LOS ANGELES, CALIFORNIA
20                  TUESDAY, FEBRUARY 11, 2025
21
22
23
24   REPORTED BY:      NATALIE PARVIZI-AZAD, CSR, RPR, RSR
                       CSR NO. 14125
25   JOB NO.:          571437
                                                                                                    Confidential - Pursuant to PO
                                                                                                    Transcript of Joshua Minkler
Case 4:19-cv-07123-PJH   Document 593-2   Filed 03/13/25   Page 54 of 96

                                                                                                   Conducted on February 11, 2025          55

                                                                           1         Q.   So as you sit here today, you don't have              10:27:09
                                                                           2    any information or expertise about the legislative              10:27:09
                                                                           3    purpose of Title 3?                                             10:27:09
                                                                           4         A.   I do not.                                             10:27:09
                                                                           5              (Reporter clarification.)                             10:27:11
                                                                           6         Q.   So as you sit here today, you don't have              10:27:11
                                                                           7    any information or expertise to talk about the                  10:27:13
                                                                           8    legislative purpose of Title 3; is that correct?                10:27:27
                                                                           9         A.   That is correct.                                      10:27:31
                                                                           10             MR. AKROTIRIANAKIS:      Counsel, whenever            10:27:35
                                                                           11   you're at a stopping point, I'm having like a                   10:27:37
                                                                           12   computer fritz out here.     I'd like to fix it.                10:27:40
                                                                           13             MR. ANDRES:    Sure.    I just have a couple          10:27:43
                                                                           14   more questions, Joe, but no more than a couple                  10:27:44
                                                                           15   minutes and we can take a break.                                10:27:48
                                                                           16             MR. AKROTIRIANAKIS:      Okay.                        10:27:50
                                                                           17   BY MR. ANDRES:                                                  10:27:50
                                                                           18        Q.   Can you explain, Mr. Minkler, why NSO's               10:27:51
                                                                           19   conduct in this case is not similar to those types              10:27:54
                                                                           20   of conduct that led to the passage of Title 3 which             10:27:57
                                                                           21   were unauthorized wiretaps and recordings?                      10:28:00
                                                                           22             MR. AKROTIRIANAKIS:      Object to the form of        10:28:08
                                                                           23   the question.    It's overbroad and incomprehensible.           10:28:10
                                                                           24        A.   Well, I'm somewhat -- I read the                      10:28:13
                                                                           25   Complaint, and I'm somewhat familiar with the                   10:28:20


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                                                                           1    allegation in the Complaint, but I am not familiar             10:28:22
                                                                           2    with the accuracy of the allegations, nor am I                 10:28:31
                                                                           3    familiar with whether or not the use of NSO's                  10:28:37
                                                                           4    Pegasus was authorized.     So I --                            10:28:47
                                                                           5         Q.    So as you sit here --                               10:28:52
                                                                           6         A.    Yeah.   I'm sorry.    I don't know if that's        10:28:54
                                                                           7    helpful.                                                       10:28:56
                                                                           8         Q.    Go ahead.   I'm sorry.                              10:28:56
                                                                           9         A.    I understand your question.       I have no         10:28:57
                                                                           10   problem understanding your question.        I just -- I        10:29:00
                                                                           11   would say I don't know enough about the facts and              10:29:05
                                                                           12   circumstances of NSO's conduct in this case to                 10:29:08
                                                                           13   determine whether or not it was consistent with the            10:29:13
                                                                           14   abuses you described in the 60s.                               10:29:17
                                                                           15        Q.    In the -- in the course of your retention           10:29:21
                                                                           16   in this case, have you seen any authorization, court           10:29:24
                                                                           17   orders, or any documents that would authorize NSO to           10:29:29
                                                                           18   engage the Pegasus tool on a phone, WhatsApp, any              10:29:38
                                                                           19   device?                                                        10:29:41
                                                                           20              MR. AKROTIRIANAKIS:      We cutout part of          10:29:41
                                                                           21   that question again, Greg.                                     10:29:42
                                                                           22   BY MR. ANDRES:                                                 10:29:46
                                                                           23        Q.    In the course of your representation of             10:29:47
                                                                           24   NSO in this case, have you seen any wiretaps or                10:29:49
                                                                           25   authorizations which allowed for the use of the                10:29:53


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                                                                           1    lawful use of Pegasus?                                           11:34:40
                                                                           2                 MR. AKROTIRIANAKIS:    Object to the form of        11:34:43
                                                                           3    the question.                                                    11:34:45
                                                                           4         A.      If a federal judge authorized the end user          11:34:45
                                                                           5    of Pegasus to install that through an intrusion, in              11:34:58
                                                                           6    my opinion, that would be legal.                                 11:35:09
                                                                           7         Q.      That's not a hack -- what you described is          11:35:12
                                                                           8    not what's commonly referred to as "hack" or what                11:35:17
                                                                           9    you've referred to as a "hack;" correct?                         11:35:20
                                                                           10                MR. AKROTIRIANAKIS:    Object to the form of        11:35:22
                                                                           11   the question.                                                    11:35:22
                                                                           12        A.      Correct.   A hack, in my opinion, would be          11:35:22
                                                                           13   something that was done without authority from a                 11:35:28
                                                                           14   federal judge.                                                   11:35:37
                                                                           15        Q.      And you're aware that in this case, since           11:35:37
                                                                           16   the issuance of your report, Judge Hamilton has                  11:35:42
                                                                           17   found that NSO violated the CFAA.                                11:35:47
                                                                           18                Are you aware of that?                              11:35:50
                                                                           19        A.      I am aware of that, though I have not read          11:35:51
                                                                           20   the order.                                                       11:35:56
                                                                           21        Q.      And you're aware that she also ruled that           11:35:57
                                                                           22   NSO violated the Companion California Statute?                   11:36:00
                                                                           23        A.      I am aware of that.                                 11:36:05
                                                                           24        Q.      And why is it that you didn't read the              11:36:06
                                                                           25   opinion?                                                         11:36:09


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                                                                           1    to a device that is encrypted.                                  11:38:06
                                                                           2         Q.   Does that refer to a particular program or            11:38:16
                                                                           3    company or anyone that has similar software                     11:38:18
                                                                           4    capabilities?                                                   11:38:24
                                                                           5              MR. AKROTIRIANAKIS:      Object to the form of        11:38:26
                                                                           6    the question.                                                   11:38:27
                                                                           7         A.   It does not.                                          11:38:27
                                                                           8         Q.   Can I ask you to take a look at                       11:38:33
                                                                           9    paragraph 36 on page 16?                                        11:38:38
                                                                           10             It reads: "However, federal laws provide              11:38:39
                                                                           11   avenues for law enforcement to lawfully intercept               11:38:44
                                                                           12   communications using tools like Pegasus, including              11:38:47
                                                                           13   Title 3 wiretaps and FISA warrants."                            11:38:52
                                                                           14             Can you explain what that paragraph means?            11:38:55
                                                                           15        A.   Yes.    If --                                         11:38:57
                                                                           16        Q.   Please -- please explain.                             11:39:07
                                                                           17        A.   If there's a valid Title 3 or FISA warrant            11:39:08
                                                                           18   for communications that are encrypted, in my                    11:39:15
                                                                           19   opinion, Title 3 and FISA would be a proper avenue              11:39:25
                                                                           20   authorizing law enforcement to use Pegasus.                     11:39:37
                                                                           21        Q.   Are you aware of any Title 3 wiretap order            11:39:41
                                                                           22   ordering the use of Pegasus or any NSO product?                 11:39:45
                                                                           23        A.   I am not.                                             11:39:48
                                                                           24        Q.   Are you aware of any FISA warrant                     11:39:51
                                                                           25   approving the use of Pegasus or any NSO product?                11:39:54


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                                                                           1              MR. AKROTIRIANAKIS:      Object to the form of        11:39:58
                                                                           2    the question.                                                   11:39:58
                                                                           3         A.   I am not.                                             11:39:58
                                                                           4         Q.   In fact, do you understand that NSO did               11:39:59
                                                                           5    not obtain a Title 3 wiretap or FISA warrant before             11:40:07
                                                                           6    attacking WhatsApp servers; correct?                            11:40:10
                                                                           7              MR. AKROTIRIANAKIS:      Object to the form of        11:40:14
                                                                           8    the question.   And I think that part of the front              11:40:14
                                                                           9    end of it didn't come over.                                     11:40:15
                                                                           10        Q.   Did you hear the question, Mr. Minkler?               11:40:20
                                                                           11        A.   I did.                                                11:40:22
                                                                           12             It is my understanding that -- and this               11:40:24
                                                                           13   is limited to -- obviously to federal law                       11:40:30
                                                                           14   enforcement -- that there is no federal law                     11:40:33
                                                                           15   enforcement warrant FISA or Title 3 allowing for the            11:40:36
                                                                           16   use and installation of Pegasus, including if it was            11:40:48
                                                                           17   used and installed in this matter.                              11:40:54
                                                                           18        Q.   So to your knowledge, no United States                11:40:59
                                                                           19   federal judge approved NSO's use of Pegasus to                  11:41:01
                                                                           20   attack WhatsApp servers; correct?                               11:41:05
                                                                           21             MR. AKROTIRIANAKIS:      Object to the form of        11:41:10
                                                                           22   the question.   No foundation.                                  11:41:13
                                                                           23        A.   Your words are "attack the servers."                  11:41:14
                                                                           24   There is no Title 3 or FISA warrant that I'm aware              11:41:23
                                                                           25   of that has been authorized for anyone in this                  11:41:29


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                                                                           1    country, government agency, to use or install                     11:41:34
                                                                           2    Pegasus.                                                          11:41:43
                                                                           3         Q.    And to your knowledge, no United States                11:41:45
                                                                           4    federal judge approved NSO's use of Pegasus to                    11:41:49
                                                                           5    obtain any information for WhatsApp users; correct?               11:41:53
                                                                           6         A.    Correct.                                               11:41:57
                                                                           7         Q.    And to your knowledge, NSO's exploits at               11:41:57
                                                                           8    issue in this federal litigation violated the                     11:42:01
                                                                           9    federal and California state anti-hacking statutes?               11:42:04
                                                                           10              MR. AKROTIRIANAKIS:       Object to the form of        11:42:10
                                                                           11   the question.      No foundation.    Exceeds the scope of         11:42:11
                                                                           12   the witness's opinion.                                            11:42:14
                                                                           13              (Reporter clarification.)                              11:42:18
                                                                           14        A.    My understanding is a federal judge has                11:42:18
                                                                           15   issued an opinion finding that the use of Pegasus in              11:42:28
                                                                           16   this matter was not authorized.                                   11:42:43
                                                                           17        Q.    Can I ask you to look at paragraph 39 of               11:42:45
                                                                           18   your report?                                                      11:42:51
                                                                           19        A.    Yes.                                                   11:42:51
                                                                           20        Q.    I'm going to direct you to the second                  11:42:51
                                                                           21   sentence that says "For example, federal law                      11:42:59
                                                                           22   provides criminal and civil penalties for abuse --                11:43:03
                                                                           23   for abuse of these law enforcement mechanisms."                   11:43:07
                                                                           24              Do you see that?                                       11:43:10
                                                                           25        A.    I do.                                                  11:43:11


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                                                                           1    in preparation for preparing my report.                           13:39:41
                                                                           2         Q.   Did you ever sign the stipulated                        13:39:44
                                                                           3    protective order governing the handling of                        13:39:48
                                                                           4    confidential proprietary and other private                        13:39:52
                                                                           5    information and documents in this case?                           13:39:56
                                                                           6         A.   I did not.                                              13:39:56
                                                                           7         Q.   Can you explain to me what you know about               13:39:57
                                                                           8    the facts of this case?                                           13:40:05
                                                                           9              MR. AKROTIRIANAKIS:       Objection to the form         13:40:10
                                                                           10   of the question.                                                  13:40:11
                                                                           11        A.   I know, based on reviewing the Complaint,               13:40:11
                                                                           12   that there is an allegation that NSO violated the                 13:40:28
                                                                           13   Computer Fraud and Abuse Act through one of NSO's                 13:40:41
                                                                           14   end user's installing Pegasus without the WhatsApp                13:40:55
                                                                           15   user's permission.     I know there are allegations               13:41:10
                                                                           16   based on that.     That's a broad, high-level view of             13:41:16
                                                                           17   my understanding of the facts.                                    13:41:31
                                                                           18             I understand that those facts occurred in               13:41:35
                                                                           19   2018 and up to including June of 2019.         I know the         13:41:44
                                                                           20   allegation is that this was in breach as well as                  13:41:57
                                                                           21   the -- of the California equivalent of the Computer               13:42:03
                                                                           22   Fraud and Abuse Act and also a breach of a                        13:42:09
                                                                           23   contractual agreement that the Complaint alleges                  13:42:15
                                                                           24   existed between NSO and WhatsApp.                                 13:42:21
                                                                           25             Very high-level view.        That's my                  13:42:26


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                                                                           1    the question.   Misstates the witness's testimony.                     13:59:48
                                                                           2         A.   My understanding is from reading the                         13:59:49
                                                                           3    allegation in the Complaint is that end users of                       13:59:54
                                                                           4    Pegasus used the technology without a court order.                     13:59:58
                                                                           5         Q.   You've done no analysis of whether Pegasus                   14:00:08
                                                                           6    harmed WhatsApp's computers; correct?                                  14:00:11
                                                                           7         A.   I have not done that analysis.                               14:00:14
                                                                           8         Q.   You have done no analysis on whether                         14:00:17
                                                                           9    plaintiff's suffered loss or incurred cost; correct?                   14:00:20
                                                                           10        A.   I have not done that analysis.                               14:00:23
                                                                           11        Q.   You've done no analysis of NSO's profits                     14:00:24
                                                                           12   or the sources of those profits?                                       14:00:28
                                                                           13        A.   I have done no analysis in that area.                        14:00:29
                                                                           14        Q.   You've done no analysis whether the                          14:00:32
                                                                           15   activity generating those profits violated US law or                   14:00:35
                                                                           16   WhatsApp's terms of service?                                           14:00:40
                                                                           17        A.   I have not done that analysis.                               14:00:41
                                                                           18             MR. AKROTIRIANAKIS:       Hey, Greg.       Can we --         14:00:44
                                                                           19        Q.   You've done no analysis of NSO's                             14:00:46
                                                                           20   technologies; correct?                                                 14:00:48
                                                                           21             MR. AKROTIRIANAKIS:       Sorry, Greg.       I'm             14:00:49
                                                                           22   trying to get a word in edgewise here.         Can we take             14:00:51
                                                                           23   a bathroom break after he answers this question?                       14:00:54
                                                                           24             MR. ANDRES:     Sure.    Can I -- can I have                 14:00:57
                                                                           25   two more minutes?                                                      14:00:59


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                                                                           1    communications and also access to stored information                     15:25:04
                                                                           2    in a mobile device that is encrypted.                                    15:25:11
                                                                           3            Q.      And when you say "the use of law                         15:25:14
                                                                           4    enforcement agencies," what law enforcement agencies                     15:25:17
                                                                           5    are you aware that use this technology lawfully?                         15:25:20
                                                                           6            A.      I'm sorry.        It would allow the use of              15:25:24
                                                                           7    that.        I understand how the technology works and                   15:25:32
                                                                           8    secondly, I understand how law enforcement would use                     15:25:35
                                                                           9    this technology.           Sorry if I misspoke.                          15:25:39
                                                                           10           Q.      Sorry.     The next part of that paragraph,              15:25:40
                                                                           11   it says, "And details my testimony concerning using                      15:25:44
                                                                           12   such lawful intercept capabilities."                                     15:25:48
                                                                           13                   I think for the purposes of brevity, you                 15:25:53
                                                                           14   testified that you're not aware of any lawful use --                     15:25:56
                                                                           15   actual lawful use of the technology; is that                             15:25:58
                                                                           16   correct?                                                                 15:26:02
                                                                           17                   MR. AKROTIRIANAKIS:        Object to the form of         15:26:02
                                                                           18   the question.           Misstates the witness's testimony.               15:26:03
                                                                           19   No foundation.                                                           15:26:07
                                                                           20           A.      I'm not aware of the lawful use of Pegasus               15:26:08
                                                                           21   in the United States by federal law enforcement                          15:26:15
                                                                           22   agencies.        I -- I have reviewed -- go ahead.                       15:26:23
                                                                           23           Q.      No, go ahead.                                            15:26:30
                                                                           24           A.      Yeah.     Okay.     I have reviewed materials,           15:26:31
                                                                           25   again, about the use of Pegasus technology by law                        15:26:39


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                                                                           1         Q.    Turn to paragraph 45.                                18:05:02
                                                                           2         A.    Yes.                                                 18:05:28
                                                                           3         Q.    This is --                                           18:05:28
                                                                           4         A.    The OJP --                                           18:05:37
                                                                           5         Q.    Yeah.                                                18:05:39
                                                                           6         A.    -- document.                                         18:05:41
                                                                           7         Q.    This is the case that involves -- that you           18:05:41
                                                                           8    weren't involved in?                                            18:05:44
                                                                           9         A.    Right.     We discussed this earlier.                18:05:45
                                                                           10        Q.    And you didn't speak to the prosecutor?              18:05:47
                                                                           11        A.    I did not.                                           18:05:50
                                                                           12        Q.    You didn't talk to the undercover police             18:05:50
                                                                           13   officer?                                                        18:05:54
                                                                           14        A.    I did not.                                           18:05:54
                                                                           15        Q.    Your -- your interaction with the facts of           18:05:54
                                                                           16   this case are based solely on the fact that you read            18:05:58
                                                                           17   this document?                                                  18:06:01
                                                                           18        A.    The OJP report, yes.                                 18:06:05
                                                                           19        Q.    Okay.    Paragraph 46 deals with a speech by         18:06:07
                                                                           20   Attorney General Barr.                                          18:06:12
                                                                           21        A.    Correct.                                             18:06:14
                                                                           22        Q.    Involves a terrorist attack in Garland,              18:06:15
                                                                           23   Texas in 2015?                                                  18:06:21
                                                                           24        A.    That is correct.                                     18:06:22
                                                                           25        Q.    Were you involved in that investigation?             18:06:23


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                                                                           1         A.   I was not.                                             18:06:24
                                                                           2         Q.   Have you ever had any disuses about that               18:06:25
                                                                           3    case with the -- Attorney General Barr?                          18:06:30
                                                                           4         A.   I have not.                                            18:06:32
                                                                           5         Q.   Did you talk to the agents involved?                   18:06:33
                                                                           6         A.   I did not.                                             18:06:35
                                                                           7         Q.   Did you do any research other than read                18:06:36
                                                                           8    this speech?                                                     18:06:40
                                                                           9         A.   I did read the speech and I was aware of               18:06:41
                                                                           10   this matter when it occurred in 2015.        I didn't do         18:06:56
                                                                           11   any research in preparing this report.        I'm trying         18:07:06
                                                                           12   to recall it occurred whether I reviewed other                   18:07:17
                                                                           13   information that was shared with DOJ employees about             18:07:24
                                                                           14   this matter or whether it was discussed in the ITDT              18:07:28
                                                                           15   meetings that I attended.                                        18:07:39
                                                                           16             My recollection is that it was discussed               18:07:43
                                                                           17   and I was aware of it at the time it occurred.                   18:07:52
                                                                           18   However, the specificity in paragraph 46 comes from              18:07:58
                                                                           19   the speech provided by Attorney General Barr.                    18:08:06
                                                                           20        Q.   Can you turn to paragraph 47?                          18:08:11
                                                                           21        A.   Yes.                                                   18:08:14
                                                                           22        Q.   There's a reference to "United States                  18:08:14
                                                                           23   versus Rhodes?"                                                  18:08:16
                                                                           24        A.   Yes.                                                   18:08:16
                                                                           25        Q.   That involves the January 6th                          18:08:16


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                                                                           1    prosecutions?                                                18:08:20
                                                                           2         A.   Yes.                                               18:08:20
                                                                           3         Q.   And with respect to this prosecution, did          18:08:21
                                                                           4    you review any of the court documents in this case?          18:08:35
                                                                           5         A.   Other than the indictment, no.                     18:08:37
                                                                           6         Q.   There was a lengthy trial in this case;            18:08:39
                                                                           7    isn't that correct?                                          18:08:42
                                                                           8         A.   In the Rhodes matter, I -- I believe there         18:08:42
                                                                           9    were several trials on the January 6th one, and I            18:08:45
                                                                           10   believe you are correct, although I don't have a             18:08:51
                                                                           11   personal knowledge of it -- of the trial in the              18:08:53
                                                                           12   Rhodes matter.                                               18:08:56
                                                                           13        Q.   And you didn't talk to any of the                  18:08:57
                                                                           14   prosecutors involved in that case?                           18:08:58
                                                                           15        A.   I did not.                                         18:09:00
                                                                           16        Q.   You didn't review any of the transcripts?          18:09:01
                                                                           17        A.   I did not.                                         18:09:03
                                                                           18        Q.   All you did was excerpt a line from the            18:09:03
                                                                           19   indictment?                                                  18:09:07
                                                                           20        A.   Correct.                                           18:09:08
                                                                           21        Q.   About the use of encrypted messages?               18:09:10
                                                                           22        A.   Correct.                                           18:09:14
                                                                           23        Q.   The defendants in this case were                   18:09:14
                                                                           24   convicted; isn't that correct?                               18:09:18
                                                                           25        A.   They were.                                         18:09:18


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                                                                                                     Transcript of Joshua Minkler
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                                                                                                    Conducted on February 11, 2025      298

                                                                           1              I HAVE NOT, AND SHALL NOT, OFFER OR PROVIDE
                                                                           2    ANY SERVICES OR PRODUCTS TO ANY PARTY'S ATTORNEY
                                                                           3    OR THIRD PARTY WHO IS FINANCING ALL OR PART OF THE
                                                                           4    ACTION WITHOUT FIRST OFFERING SAME TO ALL PARTIES
                                                                           5    OR THEIR ATTORNEYS ATTENDING THE PROCEEDING AND
                                                                           6    MAKING SAME AVAILABLE AT THE SAME TIME TO ALL
                                                                           7    PARTIES OR THEIR ATTORNEYS.       (CIV. PROC §
                                                                           8    2025.320(B))
                                                                           9              I SHALL NOT PROVIDE ANY SERVICE OR PRODUCT
                                                                           10   CONSISTING OF THE CERTIFIED STENOGRAPHER'S
                                                                           11   NOTATIONS OR COMMENTS REGARDING THE DEMEANOR OF
                                                                           12   ANY WITNESS, ATTORNEY, OR PARTY PRESENT AT THE
                                                                           13   PROCEEDING TO ANY PARTY OR ANY PARTY'S ATTORNEY OR
                                                                           14   THIRD PARTY WHO IS FINANCING ALL OR PART OF THE
                                                                           15   ACTION, NOR SHALL I COLLECT ANY PERSONAL
                                                                           16   IDENTIFYING INFORMATION ABOUT THE WITNESS AS A
                                                                           17   SERVICE OR PRODUCT TO BE PROVIDED TO ANY PARTY OR
                                                                           18   THIRD PARTY WHO IS FINANCING ALL OR PART OF THE
                                                                           19   ACTION.     (CIV. PROC. § 2025.320(C))
                                                                           20
                                                                           21   DATED:     February 14, 2025
                                                                           22
                                                                           23
                                                                           24                  _____________________________________
                                                                                                 NATALIE PARVIZI-AZAD, CSR NO.14125
                                                                           25


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               EXHIBIT 8
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     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3226
     CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                    ·

·1· · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · OAKLAND DIVISION

·4· __________________________________

·5· WHATSAPP INC., a Delaware· · · · · )
· · corporation, and FACEBOOK, INC.,· ·)
·6· a Delaware corporation,· · · · · · )
· · a Delaware corporation,· · · · · · )
·7· · · · · · · · · · · · · · · · · · ·)
· · · · · · · · Plaintiffs,· · · · · · )
·8· · · v.· · · · · · · · · · · · · · ·) Case No.
· · · · · · · · · · · · · · · · · · · ·) 4:19-cv-07123-PJH
·9· NSO GROUP TECHNOLOGIES LIMITED· · ·)
· · and Q CYBER TECHNOLOGIES LIMITED,· )
10· · · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · ·)
11· · · · · · · Defendants.· · · · · · )
· · ___________________________________)
12

13· · · · HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY

14· · · · · VIDEO-RECORDED 30(b)(6) and 30(b)(1)

15· · · · · · · · · · ·DEPOSITION OF

16· · · WHATSAPP INC., by and through its Designated

17· · · · · · · · · · ·Representative,

18· · · · · · · · · · · · CARL WOOG

19· · · · · · · ·Palo Alto, California 94304

20· · · · · · · ·Wednesday, August 14, 2024

21

22

23· Reported Stenographically by:
· · MARY J. GOFF
24· CSR No. 13427
· · WA CSR No. 21030779
25· Job No. 3226
· · PAGES 1-384
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CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                      Pages· 66..69
                                                  Page 66                                                     Page 67
·1· eight lines.· I stand corrected.                        ·1· criminals?
·2· · · · · · Mr. Comey is correct in his statement, but    ·2· · · ·A· · Sir, I'm reading a quote here from this
·3· for the fact that WhatsApp now has over two billion     ·3· person that says "terrorists and criminals" here.
·4· customers, right?                                       ·4· I'm just reacting to that.
·5· · · · · · ATTORNEY ANDRES:· Objection as to             ·5· · · ·Q· · I'm asking you whether you understand that
·6· relevance; and form.                                    ·6· terrorists and criminals have made use of WhatsApp
·7· · · ·A· · It is accurate that WhatsApp has over two     ·7· and specifically the end-to-end encrypted
·8· billion users today.                                    ·8· communications.
·9· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) And do you       ·9· · · · · · ATTORNEY ANDRES:· Objection as to
10· agree that they are overwhelmingly good people or       10· relevance.
11· would you not be in a position to say?                  11· · · ·A· · Sir, I'm not aware of any specifics of
12· · · ·A· · That would be difficult to judge the          12· that, but I understand that Director Comey used
13· actions of two billion people, but I do believe our     13· those words here in this news article.
14· service is used for a lot of good around the world.     14· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) Okay.· And
15· · · ·Q· · Okay.· Do you understand that within the      15· you understand the entire government -- the entire
16· two billion customers of WhatsApp, there are, in        16· Taliban government of Afghanistan uses WhatsApp as
17· fact, terrorists and criminals?                         17· its telecommunications platform correct, sir?
18· · · · · · ATTORNEY ANDRES:· Objection as to             18· · · · · · ATTORNEY ANDRES:· Objection.· The witness
19· relevance.                                              19· has no knowledge as to that.
20· · · ·A· · I'm not aware of any specifics in that        20· · · · · · ATTORNEY AKROTIRIANAKIS:· I will -- that's
21· regard, but I understand that at the time he -- he      21· not really how Rule 30 works, Greg, but just please
22· included terrorists and criminals in this quote here    22· follow the Federal Rules of Civil Procedure in
23· on the page.                                            23· your --
24· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) You have         24· · · · · · ATTORNEY ANDRES:· If you have a question,
25· never heard that WhatsApp is used by terrorists and     25· Joe, please state the question.
                                                  Page 68                                                     Page 69
·1· · · · · · ATTORNEY AKROTIRIANAKIS:· I did state the     ·1· communicate not just with U.S. officials, but with
·2· question.· You're instructing the witness in --         ·2· other members of the Taliban, correct?
·3· · · · · · ATTORNEY ANDRES:· I didn't instruct the       ·3· · · · · · ATTORNEY ANDRES:· Objection as to
·4· witness not --                                          ·4· relevance.
·5· · · · · · ATTORNEY AKROTIRIANAKIS:· -- an               ·5· · · ·A· · Sir, I'm not able to speak to who is using
·6· inappropriate, unlawful way.· Yeah, you did.· You're    ·6· our service.· I'm not aware of those specifics.
·7· coaching his answer.                                    ·7· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) So you don't
·8· · · · · · ATTORNEY ANDRES:· -- that is ridiculous.      ·8· know who is using your service?
·9· The witness can answer, if he knows the answer.         ·9· · · ·A· · Sir, we have limited information on the
10· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) Do you           10· two billion people plus who use our service.· I was
11· remember my question?                                   11· just referring to that in general.
12· · · ·A· · I don't, sir.                                 12· · · ·Q· · So you don't know one way or the other
13· · · ·Q· · All right.· You understand the entire         13· whether the Taliban government of Afghanistan uses
14· Taliban government of Afghanistan uses WhatsApp as      14· WhatsApp as its telecommunications platform?
15· its telecommunications platform, correct?               15· · · · · · ATTORNEY ANDRES:· Objection, asked and
16· · · ·A· · Sir, I'm not aware of the actions of the      16· answered.
17· entire Taliban.                                         17· · · ·A· · I'm not sure, sir.· I would need more
18· · · ·Q· · Have you ever heard that statement, that      18· information.
19· the Taliban government of Afghanistan uses WhatsApp     19· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) You don't
20· as its telecommunications platform?                     20· know?
21· · · ·A· · I have heard that mentioned in news           21· · · ·A· · No, sir.
22· articles, that members of the Taliban may have          22· · · ·Q· · Okay.· All right.· What about Al-Qaeda?
23· communicated with U.S. officials over WhatsApp. I       23· Are you familiar are with that organization?
24· remember an article of that nature.                     24· · · ·A· · Sir, I am.
25· · · ·Q· · And WhatsApp is used by the Taliban to        25· · · ·Q· · And that's another terrorist organization,



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        Case 4:19-cv-07123-PJH           Document 593-2            Filed 03/13/25      Page 74 of 96
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CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                   Pages· 122..125
                                                 Page 122                                                    Page 123
·1· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) Is WhatsApp      ·1· · · · · · ATTORNEY ANDRES:· Objection as to
·2· responsible when its platform is being used in order    ·2· relevance.
·3· to trade in child exploitative imagery?                 ·3· · · ·A· · Sir, we have in receipt of reports from
·4· · · · · · ATTORNEY ANDRES:· Objection as to             ·4· users of that information, as well as the times when
·5· relevance.                                              ·5· we have taken proactive steps based on the
·6· · · ·A· · Sir, we have a concerted effort to take       ·6· information available to us to prevent that very use
·7· action against that heinous imagery and others when     ·7· of our service.
·8· we become aware of them.· We have programs in place     ·8· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) Okay.· So
·9· to prevent and limit their spread.                      ·9· you, in fact, have verified that WhatsApp has, at
10· · · · · · As to the question of responsibility, that    10· times, been used to communicate child pornography,
11· sounds like a legal question, and it's beyond my        11· correct?
12· expertise.                                              12· · · · · · ATTORNEY ANDRES:· Objection, misstates
13· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) Well, do you     13· testimony.
14· feel like when people abuse WhatsApp for an             14· · · ·A· · Sir, as I mentioned, there are times when
15· unintended purpose -- well, let me back up.             15· that information has been reported to us, and we
16· · · · · · Is WhatsApp intended to be used for people    16· have taken action, as well as times when we have
17· to communicate child pornography to each other?         17· proactively identified information being shared of
18· · · ·A· · No, sir.                                      18· that feature from which we have taken action as
19· · · · · · ATTORNEY ANDRES:· Objection as to             19· well.
20· relevance.                                              20· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) So that
21· · · ·A· · No.· No, sir, that is not our objective.      21· sounds like a "Yes."
22· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) Okay.· In        22· · · · · · But just to be sure, are you agreeing with
23· your time in working for WhatsApp, you have come to     23· me?
24· learn that it has, at times, been used to               24· · · · · · ATTORNEY ANDRES:· Objection as to
25· communicate child pornography, correct?                 25· relevance.
                                                 Page 124                                                    Page 125
·1· · · ·A· · I will agree with you, sir.                   ·1· respond to when we have information that that may be
·2· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) All right.       ·2· taking place.
·3· So yes, WhatsApp has verified that there are -- have    ·3· · · · · · And we take action to -- to prevent -- to
·4· been times that it has been used to communicate         ·4· prevent so, and we make reports to law enforcement
·5· child pornography?                                      ·5· agencies so they may take further action against
·6· · · ·A· · Sir, we have --                               ·6· those who would try to do such a heinous thing.
·7· · · · · · ATTORNEY ANDRES:· Objection, asked and        ·7· · · · · · ATTORNEY AKROTIRIANAKIS:· I'm going to
·8· answered.                                               ·8· move to strike the last or nine or ten lines of the
·9· · · ·A· · -- taken action to prevent our services       ·9· witness's answer following "sir, we definitely view
10· from continuing to being used in -- in -- by those      10· that as an abuse."
11· users who -- who did so or for -- that we had reason    11· · · · · · ATTORNEY ANDRES:· I object to the motion
12· to believe that they do so.                             12· to strike whatever that is.
13· · · · · · ATTORNEY ANDRES:· To the extent that this     13· · · · · · ATTORNEY AKROTIRIANAKIS:· Yeah, well,
14· testimony is being asking in the context of a           14· you'll find out.
15· 30(b)(6) designation, I object to this line of          15· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) All right.
16· questioning as outside the scope of the designation.    16· When someone abuses WhatsApp for an unintended
17· · · ·Q· · (BY ATTORNEY AKROTIRIANAKIS) Would that be    17· purpose such as the communication of child
18· a misuse of the WhatsApp platform, to use it to         18· pornography, is WhatsApp responsible for those acts
19· communicate child pornography?                          19· of abuse?
20· · · · · · ATTORNEY ANDRES:· Objection as to             20· · · · · · ATTORNEY ANDRES:· Objection, calls for a
21· relevance.                                              21· legal conclusion.
22· · · ·A· · Sir, we definitely view that abuse.           22· · · ·A· · Sir, I'm not in a position to define
23· · · · · · And we have experts at our company that       23· responsibility of these matters.· What I know is
24· work on these issues every day.· And they work hard     24· that we have teams that work around the clock to
25· to prevent the abuse of our service, as well as         25· prevent and respond to those reports of abuse.



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CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                               Pages· 382..384
                                                        Page 382                                                           Page 383
·1                                                                 ·1· · · ·I, MARY J. GOFF, CSR No. 13427, Certified
·2                                                                 ·2· Shorthand Reporter of the State of California,
·3                                                                 ·3· certify;
·4· · · ·I, CARL WOOG, do hereby declare under penalty             ·4· · · ·That the foregoing proceedings were taken
·5· of perjury that I have read the foregoing                      ·5· before me at the time and place herein set forth, at
·6· transcript; that I have made any corrections as                ·6· which time the witness declared under penalty of
·7· appear noted, in ink, initialed by me, or attached             ·7· perjury; that the testimony of the witness and all
·8· hereto; that my testimony as contained herein, as              ·8· objections made at the time of the examination were
·9· corrected, is true and correct.
                                                                   ·9· recorded stenographically by me and were thereafter
10· · · ·EXECUTED this_______ day of_________________,
                                                                   10· transcribed under my direction and supervision; that
11· 20____, at___________________, ___________________.
                                                                   11· the foregoing is a full, true, and correct
· · · · · · · (City)· · · · · · · · (State)
                                                                   12· transcript of my shorthand notes so taken and of the
12
                                                                   13· testimony so given;
13
                                                                   14· · · ·That before completion of the deposition,
14· · · · · · · ·_______________________
                                                                   15· review of the transcript ( ) was (XX) was not
· · · · · · · · · · · · CARL WOOG
                                                                   16· requested:· ·(· ·) that the witness has failed or
15
                                                                   17· refused to approve the transcript.
16
                                                                   18· · · ·I further certify that I am not financially
17
                                                                   19· interested in the action, and I am not a relative or
18
19                                                                 20· employee of any attorney of the parties, nor of any

20                                                                 21· of the parties.

21                                                                 22· · · ·I declare under penalty of perjury under the

22                                                                 23· laws of California that the foregoing is true and
23                                                                 24· correct, dated this· · day of· · · ·, 2024.
24                                                                 25· · · · · · · ·_________________________
25                                                                 · · · · · · · · ·MARY J. GOFF

                                                        Page 384
·1· · · · · · · · · · · ERRATA SHEET
·2· · · · · · · · · · · SWIVEL LEGAL
·3· · · · · · · · ·560 W Main Street, C163
·4· · · · · · · ·Alhambra, California 91801
·5· · · · · · · · · · · 213-788-2327
·6· · · · · · · CASE:· WhatsApp v. NSO Group
·7· PAGE· LINE· FROM· · · · · · · · · · · TO
·8· ____|______|_________________________|______________
·9· ____|______|_________________________|______________
10· ____|______|_________________________|______________
11· ____|______|_________________________|______________
12· ____|______|_________________________|______________
13· ____|______|_________________________|______________
14· ____|______|_________________________|______________
15· ____|______|_________________________|______________
16· ____|______|_________________________|______________
17· ____|______|_________________________|______________
18
19· · · · · ______________________________
20· · · · · CARL WOOG
21· Subscribed and sworn to before me
22· this _____ day of _____________, 2024.
23· ______________________________________
24· · · · · · Notary Public
25




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                               UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    OAKLAND DIVISION


WHATSAPP INC., a Delaware corporation,           Case No. 4:19-cv-07123-PJH
and FACEBOOK, INC., a Delaware
corporation,

              Plaintiffs,

       v.

NSO GROUP TECHNOLOGIES LIMITED
and Q CYBER TECHNOLOGIES LIMITED,

              Defendants.



                            REPORT OF COL. TY M. SHEPARD (RET.)




                                             1
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I.      INTRODUCTION

      1.        I, Col. Ty M. Shepard (Ret.), have been engaged to offer testimony concerning the

use of surveillance technology in military and intelligence operations, including: (1) the use of

encrypted messaging applications by terrorists and other threat actors; (2) the routine use of tools

like Pegasus, licensed by NSO Group Technologies Limited (“NSO”), by the U.S. and allied

countries and the operational gaps that the lack of such tools would create in attempting to counter

threat actors using encrypted messaging applications; (3) the marketplace for such commercial

tools and the need to maintain them as confidential; (4) government actors’ compliance with terms

of service; and (5) safeguards imposed on the use and operation of Pegasus.

      2.        This report serves as an explanation of my understanding of the technology at issue

in this case and details my experience with the uses of such technology. This report is based on

my investigation of this matter, as well as my education, experience, and training in cybersecurity,

surveillance, intelligence collection, and hostile security environments.

II.     QUALIFICATIONS

      3.        I retired from the United States Army in May 2023 and the California Military

Department in May 2024. I earned a Bachelor of Science degree and was commissioned in 1998

from California Polytechnic State University, San Luis Obispo, as an infantry officer. Thereafter,

I was assigned to the 3-502nd, 101st Airborne Division at Fort Campbell. I served in Company

and Battalion positions and was deployed to Macedonia and Kosovo in support of Kosovo Force

(KFOR) rotation 1A.

      4.        In 2005, I joined the California National Guard and served at the Joint Force

Headquarters.

      5.        In 2007, I was mobilized to Iraq as an infantry Company Commander in support of

Operation IRAQI FREEDOM and the Global War On Terrorism. I worked closely with the Joint

                                                 3
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Special Operations Command (JSOC) Strategic Debriefing Element (SDE), the British Secret

Intelligence Service (SIS), and Army Brigade headquarters elements on this deployment.

     6.        I subsequently served as a staff officer in the 79th Infantry Brigade Combat Team,

executive officer 1-184th Infantry, Joint Staff current operations officer, executive officer for the

Joint Staff, and Brigade S3 for the 115th Regional Support Group.

     7.        In 2013, I completed my resident intermediate-level education at the United States

Army Command and General Staff College and Advanced Operation Course.

     8.        In 2014, I was asked to work as the Friendly Force Tracking (FFT), tactical Beyond

Line of Site (BLOS) secure communication and Common Operating Picture (COP) Subject Matter

Expert (SME) for the United States Northern Command (NORTHCOM). I assisted in building

the COP/FFT information technology systems and architecture for NORTHCOM, trained its

units/Joint Task Forces, was the COP/FFT lead/attended all National Special Security Events

(NSSE) and select high-level Special Event Assessment Rating (SEAR) events along with named

operations along the U.S. border and National Capital Region over three years. In this capacity, I

also assisted Special Operations Command (SOCOM), Army South (ARSOUTH), the Department

of State (DoS), and other federal agencies.

     9.        Following that assignment, I was selected and deployed to the U.S. Embassy in

Ukraine in 2017 as a C4ISR (Command, Control, Communications, Computers, Intelligence,

Surveillance, and Reconnaissance) advisor. As part of this deployment, I assisted Ukraine in

building its current multi-domain intelligence-sharing platform.

     10.       In 2020, I trained and led a Joint Task Force headquarters element to Guantanamo

Bay Naval Base in Cuba and served as the Deputy Director of the Commission Liaisons Office in

support of the Global War on Terrorism.



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        16.     I retired from the California Military Department in May 2024.

        17.     My awards and decorations include the Legion of Merit, Bronze Star, Defense

Meritorious Service Medal, Meritorious Service Medal (with four Oak Leaf Clusters), Army

Commendation Medal, Army Achievement Medal (with three Oak Leaf Clusters), Ranger Tab,

Combat Action Badge, Airborne badge, and Expert Infantrymen’s badge.

        18.     Through my various assignments, I am familiar with the marketplace of

commercial and non-commercial cyber-surveillance tools, including Pegasus, used by the United

States and its allies/partners.    I am also familiar with the technical tradecraft practiced by

significant U.S. adversaries, including nation-states, terrorist groups, international criminal

syndicates, drug traffickers, human smugglers, and others.

        19.     I have not testified as an expert at trial or by deposition during the last four years.

        20.     I have not authored any publications in the prior ten years.

III.      MATERIALS CONSIDERED AND SUPPORTING EXHIBITS

        21.     In preparing this report, I have relied on facts and data from various sources,

including those set forth in Appendix I.

        22.     I do not plan to use any exhibits during my testimony.

IV.       INTENDED TESTIMONY AND REASONING

       Threat Actors Use Encrypted Messaging Applications to Undermine U.S. and Allied
       National Security

        23.     Various threat actors, including terrorist organizations, narcotics groups, human

traffickers, organized crime, cross-border gangs, and nation-states, routinely use encrypted

messaging applications, including WhatsApp, to conceal their activities from detection by military,

national security, and law-enforcement agencies. These threat actors need to maintain command

and control over their operations, which requires the ability to communicate discreetly, quickly,


                                                   6
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across borders, and in multiple domains. U.S. and allied law enforcement and intelligence

agencies (hereafter “agencies”) have significant signals intelligence gathering capabilities, but

companies that provide messaging applications often design their systems to prevent anyone,

including government agencies, from decrypting communications stored or sent using the

applications. To overcome such encryption and conduct lawful surveillance, government agencies

need to develop or purchase licenses to use special surveillance tools. Many companies regularly

update their applications to block such decryption tools, so government agencies must continually

update their tools or purchase licenses to use updated tools.

     Threat Examples

     24.       I have witnessed threat actors using encrypted messaging applications and the

related challenges posed for U.S. and allied intelligence agencies in the several theaters where I

have been deployed or for which I have otherwise had operational responsibilities. These include

Russian intelligence services (and proxies) operating in Ukraine and Eastern Europe, terrorist

groups in the Middle East, and groups trafficking in drugs, other illicit items, or human beings on

the U.S. southern border. All of these groups use encrypted messaging applications as a convenient

and easily accessible method of planning and committing crimes and attacks that undermine the

public safety and national security of the United States and its allies\partners.

     25.       Law enforcement and intelligence agencies often cannot gain access to and read

communications of such threat actors directly through legal process served on communications

providers such as WhatsApp, even with the approval of federal judges. When presented with

lawful court orders authorizing agencies to collect substantive communications on messaging

platforms, such providers often respond that they only have the ability to provide the encrypted

message traffic, which they cannot decipher. As a result, U.S. and allied law enforcement and



                                                  7
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intelligence agencies face a constant challenge from malicious groups who use encrypted

messaging applications to plan and commit crimes such as terrorism, smuggling drugs, illicit items,

and humans, and even assassinations.

      The U.S. and its Allies Widely Use Surveillance Tools like Pegasus to Protect National

      Security

      26.        U.S. military and intelligence agencies, as well as those of U.S. allies, routinely use

surveillance tools similar to Pegasus to combat a variety of threat actors. Such tools sometimes

are developed by agencies, sometimes purchased from private companies, and sometimes have

elements of both. Such tools can allow intelligence officers to learn about communications

involving threat actors while operating remotely and secretly.

      27.        Government agencies use surveillance tools like Pegasus to gain insight into

operational planning, threat actor identities, and specific plots.

      28.        Tools like Pegasus provide intelligence insight to the U.S. and allied national

security agencies. Based on this insight, U.S. and allied national security agencies are often able

to successfully disrupt attempts to injure or kill people, damage or destroy critical infrastructure,

and otherwise threaten public safety and security. There would be significant risks and harm to

American lives and critical infrastructure if these tools did not exist or if the U.S. and its allies did

not have access to them.

      29.        Such tools allow for the collection of intelligence remotely and secretly. In the

absence of these tools, agencies would need to place more intelligence officers in harm’s way

through human “undercover” style collection to gain insights and collect intelligence through

direct and dangerous interactions. Even if agencies dedicated more resources to these types of

undercover losses, they would be constrained by funds, trained personnel, and other resources to



                                                   8
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     Cyber Surveillance Tools Require Stealth

     34.       In my experience, many encrypted messaging application providers such as

WhatsApp do not help the government obtain access to encrypted communications, even with

lawful processes issued by courts. Usually, these requests are denied or acted upon slowly. Where

they are acted upon, such providers may identify internal policies that prohibit them from

cooperating or technological restrictions that prevent them from disclosing clear text

communications of messaging sent on their platforms.

     35.       In my experience, government agencies do not normally disclose sophisticated

technical surveillance tools or methods to encrypted messaging application providers because such

disclosures would potentially lead those providers to update their software to render those tools or

methods non-functional.

     Government Agencies Routinely Ignore “Terms of Service”

     36.       Encrypted messaging platforms often have “Terms of Service” in place for users of

their platforms. Intelligence agencies typically do not follow ordinary terms of service when acting

in a governmental capacity and pursuing major security and safety threats.

     37.       Moreover, many non-government users routinely engage in activities that are

inconsistent with the Terms of Service and without adverse action by providers. For example,

users routinely register using pseudonyms and avoid disclosing their true identities or locations

even when required by the terms of service, and providers typically do not enforce such policies.

Indeed, the level of unlawful activity that occurs through encrypted messaging platforms suggests

that companies do not ordinarily enforce their Terms of Service.




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similar functions from other companies that do not impose similar restrictions or develop the tools

themselves.

      44.         I am unaware of a strategic available commercial off-the-shelf (COTS) surveillance

tool used internationally that has more safeguards than Pegasus.

      45.         In the commercial cyber surveillance tool market, most companies and individuals

who create such tools do not perform due diligence on customers. Indeed, cyber surveillance tools

and exploits are often readily available on the dark web or through open-source technology.

V.         STATEMENT OF COMPENSATION

     46.         I will be paid $500 per hour for my work on this matter. My compensation is not

           contingent upon the outcome of the case.




     Executed on August 30, 3024, in Folsom, California.



                                                       ___________________________________
                                                       Ty M. Shepard




                                                  12
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              EXHIBIT 11
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             FILED UNDER SEAL
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              EXHIBIT 13
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                                                                                               Page 1
·1· · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · · · OAKLAND DIVISION

·4· ·WHATSAPP INC., a Delaware· · )
· · ·corporation, and FACEBOOK,· ·)
·5· ·INC., a Delaware corporation,)
· · · · · · · · · · · · · · · · · )
·6· · · · · · ·Plaintiffs,· · · · )
· · · · · · · · · · · · · · · · · )
·7· ·vs.· · · · · · · · · · · · · )Case No. 4:19-CV-07123-PJH
· · · · · · · · · · · · · · · · · )
·8· ·NSO GROUP TECHNOLOGIES· · · ·)
· · ·LIMITED and Q CYBER· · · · · )
·9· ·TECHNOLOGIES LIMITED,· · · · )
· · · · · · · · · · · · · · · · · )
10· · · · · · ·Defendants.· · · · )
· · ·_____________________________)
11

12

13· · · · · · VIDEOTAPED DEPOSITION OF SUSAN GLICK

14· · · · · · · · ·MONDAY, SEPTEMBER 9, 2024

15· · · · · · · · · 9:28 A.M. to 3:00 P.M.

16· ·______________________________________________________

17· · · · · · · · · Taken by the Defendants
· · · · · · · · · · · ·at K&L Gates, LLP
18· · · · · · 301 Hillsborough Street, Suite 1200
· · · · · · · · ·Raleigh, North Carolina 27603
19

20

21

22

23

24

25· · · ·Reported by: Sophie Brock, RPR, RMR, RDR, CRR
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                                                    Page 58                                                       Page 59
·1· ·it's unrelated to Cambridge Analytica?                   ·1· ·BY MR. AKROTIRIANAKIS:
·2· · · · · · · · · MR. ANDRES:· Objection.                   ·2· · · · Q.· Okay.· And the resolution that was reached
·3· ·Mischaracterizes the testimony.                          ·3· ·between the FTC and Facebook related to that dispute
·4· · · · · · · · · THE WITNESS:· No.· The article says       ·4· ·was that Facebook agreed to pay a $5 billion penalty;
·5· ·that it's related.· But this article doesn't say that    ·5· ·right?
·6· ·they settled a lawsuit about Cambridge Analytica,        ·6· · · · · · · · · MR. ANDRES:· Objection.· Asked and
·7· ·which is what you asked me.                              ·7· ·answered.
·8· ·BY MR. AKROTIRIANAKIS:                                   ·8· · · · · · · · · THE WITNESS:· That's what the headline
·9· · · · Q.· Well, not to quibble, but I asked if it was     ·9· ·says.
10· ·in resolution of a dispute related to Cambridge          10· ·BY MR. AKROTIRIANAKIS:
11· ·Analytica.· I wasn't suggesting to you that the FTC      11· · · · Q.· Well, does the headline help you recall the
12· ·filed a lawsuit against Facebook.· I think this was a    12· ·events that are the subject of the article?
13· ·pre-lawsuit resolution.· Is that how you read it?        13· · · · A.· I remember that there was a lot of privacy
14· · · · A.· My understanding is that Cambridge Analytica    14· ·concerns about Facebook in the aftermath of Cambridge
15· ·is related to the concerns about violations of the       15· ·Analytica.
16· ·consent order.                                           16· · · · Q.· Do you remember that Facebook agreed to pay a
17· · · · Q.· Okay.· And related to concerns over the         17· ·record breaking $5 billion penalty?
18· ·actions of Facebook and Cambridge Analytica, the FTC     18· · · · · · · · · MR. ANDRES:· Objection.· Asked and
19· ·believed that Facebook had violated a prior consent      19· ·answered.
20· ·order; true?                                             20· · · · · · · · · THE WITNESS:· No.
21· · · · · · · · · MR. ANDRES:· Objection.· Asked and        21· ·BY MR. AKROTIRIANAKIS:
22· ·answered.                                                22· · · · Q.· Do you remember that the $5 billion penalty
23· · · · · · · · · THE WITNESS:· Based on my understanding   23· ·against Facebook is the largest ever imposed on any
24· ·of this article, yeah.                                   24· ·company for violating consumers' privacy?
25                                                            25· · · · A.· No.

                                                    Page 60                                                       Page 61
·1· · · · · · · · · MR. ANDRES:· Objection.· Relevance.       ·1· · · · A.· I don't remember that we knew with any
·2· ·BY MR. AKROTIRIANAKIS:                                   ·2· ·certainty that the users were members of law
·3· · · · Q.· Okay.· So you also don't remember that it was   ·3· ·enforcement.· I think we had reason to believe that
·4· ·one of the largest penalties ever assessed by the        ·4· ·they were members of sovereign governments.
·5· ·United States Government for any violation?              ·5· · · · Q.· Okay.· Did you ever come to believe that the
·6· · · · · · · · · MR. ANDRES:· Objection.· Asked and        ·6· ·Pegasus users were, in fact, law enforcement agencies,
·7· ·answered.                                                ·7· ·intelligence agencies, and the like?
·8· · · · · · · · · THE WITNESS:· No.                         ·8· · · · · · · · · MR. ANDRES:· Objection.· Asked and
·9· ·BY MR. AKROTIRIANAKIS:                                   ·9· ·answered.
10· · · · Q.· Okay.· Returning your attention to              10· · · · · · · · · THE WITNESS:· As I said before, I don't
11· ·Exhibit 1021, if you would, and specifically to your     11· ·think we ever knew that they were members of law
12· ·draft note for Mr. Cathcart that begins on the bottom    12· ·enforcement.· We had reason to believe they were
13· ·of page 1 of Exhibit 1021.· Are you with me?             13· ·members of sovereign governments.
14· · · · A.· I'm with you.                                   14· ·BY MR. AKROTIRIANAKIS:
15· · · · Q.· All right.· At the time that you wrote the      15· · · · Q.· Did WhatsApp come to believe that the
16· ·initial email in Exhibit 1021, WhatsApp believed that    16· ·WhatsApp users who had been targeted using Pegasus
17· ·there were approximately 1,470 WhatsApp                  17· ·were suspected criminals and terrorists?
18· ·account-holders who had been targeted using Pegasus;     18· · · · A.· Can you repeat the question?
19· ·correct?                                                 19· · · · Q.· Did WhatsApp come to believe that the
20· · · · A.· That's what the email says.                     20· ·WhatsApp users who had been targeted using Pegasus
21· · · · Q.· And WhatsApp knew at the time that the users    21· ·were suspected criminals and terrorists?
22· ·of Pegasus were law enforcement and intelligence         22· · · · A.· No.
23· ·agencies of sovereign governments; also correct?         23· · · · Q.· Not at any time?
24· · · · A.· No.                                             24· · · · A.· WhatsApp had reason to believe that some may
25· · · · Q.· What's incorrect about my statement?            25· ·be, which was a reason to look into it prior to



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                                                    Page 134                                                      Page 135
·1· · · · Q.· Why are the two tied together?                   ·1· ·vulnerable to hacking; correct?· Is that right?
·2· · · · A.· If you're planning to launch a product in a      ·2· · · · A.· That's true.
·3· ·geography, then it's not helpful to have user concerns    ·3· · · · Q.· And why did you remove that word?
·4· ·in that geography immediately before you launch it or     ·4· · · · A.· I don't remember.
·5· ·while you launch it.                                      ·5· · · · Q.· Do you recall being concerned that, in fact,
·6· · · · Q.· And it is true that WhatsApp and Facebook        ·6· ·WhatsApp had large vulnerabilities to hacking?
·7· ·believed that the risk of potential backlash was most     ·7· · · · A.· No.
·8· ·acute in India and Mexico; correct?                       ·8· · · · Q.· All right.· You see the second bullet down
·9· · · · A.· That's what the email says.                      ·9· ·that says -- after the third sub-bullet, it says,
10· · · · Q.· Well, is it your recollection that that was,     10· ·"Concerns over sharing data with Citizen Lab"?
11· ·in fact, true?                                            11· · · · A.· I see that.
12· · · · A.· It's my recollection that I would have           12· · · · Q.· And in the parenthetical, it says (as read):
13· ·prioritized truth in emails that went to executives.      13· · · · · · · · "The limited information we gave
14· · · · Q.· In your tweaked version here, you also have      14· · · · · · · · them was through a contract that
15· ·removed the word "false" from the sentence about          15· · · · · · · · is typical of engagements like
16· ·perceptions that WhatsApp was vulnerable to hacking;      16· · · · · · · · this."
17· ·do you see that?                                          17· · · · · · ·Do you see that?
18· · · · A.· Let me -- can I take a minute to compare?        18· · · · A.· I do.
19· · · · Q.· Yeah, you should.· Thank you.                    19· · · · Q.· Was that the contract that you previously
20· · · · A.· Okay, I see the difference between -- I see      20· ·referenced pursuant to which you believed WhatsApp and
21· ·that difference that you referenced between the two       21· ·Facebook were paying Citizen Lab?
22· ·emails.                                                   22· · · · A.· I was only ever aware of one contract, so
23· · · · Q.· And the slightly tweaked version,                23· ·this must be one and the same.
24· ·Exhibit 1026, removes the word "false" from the           24· · · · Q.· Okay.· Let's go back to Exhibit 1021
25· ·sentence about perceptions that WhatsApp was              25· ·(indicating).
                                                    Page 136                                                      Page 137
·1· · · · A.· This is 1026 (indicating).                       ·1· · · · · · · · · THE WITNESS:· I think it's accurate to
·2· · · · Q.· I'm sorry, then it's the other one.              ·2· ·say that Facebook was under constant scrutiny for
·3· · · · A.· Okay.                                            ·3· ·their use of data.
·4· · · · Q.· Do you have Exhibit 1021 before you?             ·4· ·BY MR. AKROTIRIANAKIS:
·5· · · · A.· Yes.                                             ·5· · · · Q.· And it's paid billions and billions of
·6· · · · Q.· What was the concern over sharing with           ·6· ·dollars to settle lawsuits and government
·7· ·Citizen Lab?                                              ·7· ·investigations related to its use of data; fair?
·8· · · · A.· There was a lot of sensitivity and concern in    ·8· · · · A.· Fair.
·9· ·general in the public about data shared among the         ·9· · · · Q.· And it's not actually use that makes you pay
10· ·Facebook family of apps.                                  10· ·billions and billions of dollars, it's abuse and
11· · · · Q.· And why was that?                                11· ·misuse; also fair?
12· · · · A.· Because data privacy was a big topic at that     12· · · · A.· I don't know.
13· ·time.                                                     13· · · · Q.· WhatsApp shared data with Citizen Lab so it
14· · · · Q.· And Facebook had repeatedly gotten in trouble    14· ·could determine how many of the targeted phones
15· ·for data privacy issues; is that fair to say?             15· ·belonged to people who Citizen Lab believed were
16· · · · · · · · · MR. ANDRES:· Objection to the form of      16· ·members of civil society; true?
17· ·the question.                                             17· · · · A.· WhatsApp collaborated with Citizen Lab to try
18· · · · · · · · · THE WITNESS:· What do you mean by          18· ·to do diligence before reaching out to potentially
19· ·"gotten in trouble"?                                      19· ·affected users because they didn't want to just
20· ·BY MR. AKROTIRIANAKIS:                                    20· ·blindly notify potentially affected users.
21· · · · Q.· Well, got in trouble with the US Government      21· · · · Q.· And further to that desire, WhatsApp shared
22· ·and had to settle lawsuits with classes of plaintiffs     22· ·data with Citizen Lab; right?
23· ·all over the United States.· Things like that.            23· · · · A.· Correct.
24· · · · · · · · · MR. ANDRES:· Objection to the form of      24· · · · Q.· And the purpose of that data sharing was in
25· ·the questions.                                            25· ·order to determine how many, if any, of the targeted



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                                                       Page 202
·1· · · · · · · · · CERTIFICATE OF REPORTER
·2· · · · · · · · · · · · ·---o0o---
·3· · · · I, Sophie Brock, Registered Diplomate Reporter and
·4· ·Certified Realtime Reporter, do hereby certify:
·5· · · · That prior to being examined, the witness in the
·6· ·foregoing deposition was by me duly sworn to testify to
·7· ·tell the truth, the whole truth, and nothing but the
·8· ·truth.
·9· · · · That the foregoing deposition was taken in-person
10· ·at the time and date therein set forth and was taken
11· ·down by me in shorthand and thereafter transcribed into
12· ·typewriting under my direction and supervision; said
13· ·transcript being a true record of said proceedings.
14· · · · I further certify that I am neither counsel for,
15· ·nor related to, any of the parties to said deposition,
16· ·nor in any way interested in the outcome of this cause.
17· · · · Further, that if the foregoing pertains to the
18· ·original transcript of a deposition in a federal case,
19· ·before completion of the proceedings, review of the
20· ·transcript was requested.
21· · · · In witness whereof, I have hereunto subscribed my
22· ·name on this 10th day of September, 2024.
23
· · · · · · · · · · · · ·___________________________
24
· · · · · · · · · · · · ·Sophie Brock, RDR, CRR
25· · · · · · · · · · · ·Notary Number: 200834000001




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 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES
13                                               LIMITED AND Q CYBER
                 Plaintiffs,
                                                 TECHNOLOGIES LIMITED’S FOURTH
14                                               SET OF REQUESTS FOR PRODUCTION
           v.
                                                 OF DOCUMENTS TO PLAINTIFFS
15                                               WHATSAPP LLC FKA WHATSAPP INC.
     NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,           AND META PLATFORMS, INC. FKA
16                                               FACEBOOK, INC.
17               Defendants.

18

19

20   PROPOUNDING PARTY:          NSO GROUP TECHNOLOGIES
21                               LIMITED AND Q CYBER TECHNOLOGIES LIMITED
22   RESPONDING PARTY:           WHATSAPP LLC fka WHATSAPP INC. AND META
23                               PLATFORMS, INC. fka FACEBOOK, INC.
24   SET NO.:                    FOUR (4)
25

26

27

28
      DEFENDANTS’ FOURTH SET OF                                     Case No. 4:19-cv-07123-PJH
      REQUESTS FOR PRODUCTION OF
      DOCUMENTS TO PLAINTIFFS
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 1   limitations on access to WhatsApp’s servers.

 2   REQUEST FOR PRODUCTION NO. 239:

 3          Documents sufficient to show the areas of WhatsApp servers that you contend NSO

 4   accessed that are not generally accessible to WhatsApp users.

 5   REQUEST FOR PRODUCTION NO. 240:

 6          All Documents and Communications related to NSO’s alleged access to any areas of

 7   WhatsApp’s servers that are not generally accessible to WhatsApp’s users.

 8   REQUEST FOR PRODUCTION NO. 241:

 9          Documents sufficient to describe the design and intended operation of the functionality of

10   the Facebook Research App.

11   REQUEST FOR PRODUCTION NO. 242:

12          Documents and Communications sufficient to show Plaintiffs’ development, testing,

13   troubleshooting and maintenance of the Facebook Research App.

14   REQUEST FOR PRODUCTION NO. 243:

15          Documents and Communications sufficient to show the processes, methods, and

16   Technology used by the Facebook Research App to monitor and exfiltrate data from Devices on

17   which the Facebook Research App was installed.

18   REQUEST FOR PRODUCTION NO. 244:

19          Documents and Communications sufficient to show the Technology used to transmit any

20   data or information from any Device on which Facebook Research App was installed.

21   REQUEST FOR PRODUCTION NO. 245:

22          Documents and Communications sufficient to describe the data and information Plaintiffs

23   obtained from Devices through the Facebook Research App.

24   REQUEST FOR PRODUCTION NO. 246:

25          All Documents and Communications produced to the plaintiffs in the lawsuit styled Klein

26   v. Meta Platforms, Inc., Case No. 3:20-cv-08570-JD (N.D. Cal.) that refer or relate to the Facebook

27   Research                App                 or                Project                Ghostbusters.

28
       DEFENDANTS’ FOURTH SET OF                      6                        Case No. 4:19-cv-07123-PJH
       REQUESTS FOR PRODUCTION OF
       DOCUMENTS TO PLAINTIFFS
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